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                     10
                        Attorneys for Receiver
                     11 Thomas A. Seaman
                     12                           UNITED STATES DISTRICT COURT
                     13                         CENTRAL DISTRICT OF CALIFORNIA
                     14                        WESTERN DIVISION
                     15 SECURITIES AND EXCHANGE           Case No. 2:15-cv-07425 RGK GJS
                        COMMISSION,
                     16                                   RECEIVER'S ELEVENTH INTERIM
                                   Plaintiff,             FEE APPLICATION
                     17
                             v.                           Date: September 24, 2018
                     18                                   Time: 9:00 a.m.
                        STEVE CHEN, USFIA, INC.,          Ctrm.: 850
                     19 ALLIANCE FINANCIAL                Judge: Hon. R. Gary Klausner
                     20 GROUP, INC., AMAUCTION, INC.,
                        ABORELL MGMT I, LLC, ABORELL
                     21 ADVISORS I, LLC, ABORELL
                        REIT II, LLC, AHOME REAL
                     22 ESTATE, LLC, ALLIANCE
                        NGN, INC., APOLLO REIT I, INC.,
                     23 APOLLO REIT II, LLC, AMKEY, INC.,
                     24 US CHINA CONSULTATION
                        ASSOCIATION, and QUAIL RANCH
                     25 GOLF COURSE, LLC,
                     26                    Defendants.
                     27
                     28
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                        1               Thomas A. Seaman ("Receiver"), the Court-appointed receiver for Defendants
                        2 USFIA, Inc., Alliance Financial Group, Inc., Amauction, Inc., Aborell Mgmt I, LLC,
                        3 Aborell Advisors I, LLC, Aborell REIT II, LLC, Ahome Real Estate, LLC, Alliance
                        4 NGN, Inc., Apollo REIT I, Inc., Apollo REIT II, LLC, Amkey, Inc., US China
                        5 Consultation Association, Quail Ranch Golf Course, LLC, and their subsidiaries and
                        6 affiliates (collectively, "Receivership Entities"), hereby submits this Eleventh Interim
                        7 Fee Application. This application covers the period from April 1, 2018, through
                        8 June 30, 2018 ("Eleventh Application Period").
                        9               During the Eleventh Application Period, the Receiver and his staff spent
                     10 1,122.9 hours executing the duties set forth in the Preliminary Injunction Order
                     11 entered on October 6, 2015 ("PI Order"). As set forth in the Receiver's Eleventh
                     12 Interim Report ("Eleventh Report"), the Receiver recovered $1,584,858 during the
                     13 quarter and has recovered $59,060,618 in gross receipts for the receivership estate
                     14 through June 30, 2018. The Receiver seeks approval of $147,190 in fees incurred
                     15 during the Eleventh Application Period. The fees were incurred at hourly rates
                     16 ranging from $60 to $385 per hour. The weighted average hourly rate was $131 per
                     17 hour. The Receiver requests authority to pay 90 percent of this amount, or $132,471.
                     18 The Receiver does not seek reimbursement of any expenses.
                     19                            I.     SCOPE OF THE RECEIVER'S WORK
                     20                 During the Eleventh Application Period, significant progress in the marketing
                     21 and sale of real property assets was made. Sales efforts are ongoing, and sale of the
                     22 Deodar property closed on August 3, 2018. The Utica land is listed and there is
                     23 some interest. The company office building located in Arcadia has been listed, but
                     24 interest thus far has been limited.
                     25                 The Receiver also continued efforts to identify and marshal assets, including
                     26 an accounting of receipts and disbursements of the Receivership Entities, and
                     27 otherwise investigate potential sources of recovery. The Receiver recovered funds in
                     28 the amount $1,297,030 from Steamfont, LLC, an affiliated entity. The Receiver also
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                        1 held an auction of the personal property, which generated $287,828 for the
                        2 receivership estate. The Receiver also preserved and managed real estate assets,
                        3 including several single-family properties. The Receiver complied with discovery
                        4 and document production requests.
                        5               The Receiver developed a recommended claims process, which the Court
                        6 approved and a deadline to submit claims, or bar date, was established. The Receiver
                        7 has recently filed a motion to extend the bar date to October 1, 2018, in order to
                        8 allow more investors to submit claims. The motion was granted on August 23, 2018.
                        9                             II.   SUMMARY OF RECEIVER'S FEES
                     10                 Exhibit A provides a detailed listing of each time entry comprising the total
                     11 fees for the Eleventh Application Period of $147,190. Exhibit B provides a summary
                     12 by timekeeper and Exhibit C provides a summary by task. The fees were incurred by
                     13 month as follows:
                     14                                April 2018                  $64,128.50
                     15                                May 2018                    $27,245.00
                                                       June 2018                   $55,816.50
                     16                                Total                      $147,190.00
                     17
                     18                 During the Eleventh Application Period, and as set forth in the Receiver’s
                     19 Eleventh report, the gross cash receipts to the receivership estate were $1,584,858.
                     20 The gross receipts are broken down as follows:
                     21                       Cash and Securities                    $ 1,297,030
                     22                       Personal Asset Liquidation             $   287,828
                     23                       Total                                  $ 1,584,858
                     24                 The Receiver's total fees for the Eleventh Application Period were 9.3% of the
                     25 gross receipts. The following summarizes the charges listed in Exhibit A by
                     26 category of fees:
                     27
                     28
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                        1                                  Task               Hours     Rate       Amount
                        2                    Accounting and Reporting           13.1    $107        $1,407.00
                                             Forensic Accounting               119.8    $114       $13,646.00
                        3                    Investor Relations                563.5    $116       $65,212.50
                        4                    Litigation & Support                5.2    $210        $1,092.00
                        5                    Project Management                 44.9    $193        $8,672.50
                                             Property Management                50.3    $175        $8,802.50
                        6
                                             Receiver                           46.2    $385       $17,787.00
                        7                    Receivership Administration        96.2     $67        $6,477.50
                        8                    Sell Liquidate Assets             178.8    $130       $23,211.00
                        9                    Takeover Property                   4.9    $180          $882.00
                                             Total All Activities            1,122.9    $131      $147,190.00
                     10
                     11                 In order to reduce fees, the Receiver delegates work to lower-priced
                     12 employees of the Receiver at rates ranging from $60 to $210 per hour. These
                     13 employees worked 1,069.2 hours at an average hourly rate of $118, bringing the
                     14 weighted average hourly rate to $131 per hour.
                     15      Inception-to-date through June 30, 2018, the total of the Receiver's fees are
                     16 $1,621,222.50, or 2.7% of the gross receipts of $59,060,618.
                     17                   III. SUMMARY OF TASKS PERFORMED
                     18                 Accounting and Reporting. This category covers the cost of setting up and
                     19 maintaining an accounting system to account for the receipts and disbursements of
                     20 the receivership estate. For the Eleventh Application Period, 13.1 hours were spent
                     21 on tax reporting, accounting, and reporting activities for a total of $1,407. The
                     22 average hourly rate was $107.
                     23                 Forensic Accounting. The Receiver is in the process of conducting a forensic
                     24 accounting of the receipts and disbursements of the Receivership Entities. The
                     25 Receiver is using a QuickBooks model to conduct the accounting. The QuickBooks
                     26 model is a relational database that posts each receipt and disbursement to or from a
                     27 particular bank account to an account established in a Chart of Accounts set up to
                     28 collect costs by account category or asset type. The database also assigns classes for
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                        1 each separate Receivership Entity, and sub-classes comprised of money raising,
                        2 money investing, and intercompany transfers and expenses. The QuickBooks model
                        3 has assisted the Receiver with identifying assets of the estate as well as reporting to
                        4 the Court and the parties how the proceeds raised by entities were invested or spent.
                        5               The accounting is voluminous and complex. As the process has progressed,
                        6 several additional accounts and entities have been identified and additional
                        7 subpoenas have been required. Production is ongoing and being incorporated, but
                        8 will extend the time required to complete the accounting. The additional work has
                        9 identified additional recipients of ill-gotten gains and assets. The number of bank
                     10 accounts used by the Receivership Entities that the Receiver is accounting for has
                     11 grown to 93 accounts. Much of the backup for deposits and checks is in Mandarin,
                     12 which has slowed and complicated the process. For some of the new accounts and
                     13 entities that have been discovered, there is no backup documentation. Transactions
                     14 valued at approximately $800 million have been entered into the QuickBooks model
                     15 thus far. Given external receipts of approximately $214 million into the collective
                     16 Receivership Entities, the velocity of money is high and funds turnover several times
                     17 before leaving the enterprise, belying the efforts made to obscure the uses of funds.
                     18 Intra-enterprise transfers among the Receivership Entities are approximately
                     19 $92,000,000. The accounting is largely completed and the Receiver is preparing a
                     20 narrative report to the Court. Completion of the report is prerequisite to the Receiver
                     21 recommending a plan of distribution.
                     22                 During the Eleventh Application Period, the cost of the forensic accounting
                     23 work was $13,646 and represented 9% of fees incurred for the quarter. The weighted
                     24 average hourly rate was $114. Since the inception of the accounting, the work has
                     25 consumed 4,292.6 hours at a weighted average hourly rate of $107 per hour. The
                     26 Receiver believes he is conducting the accounting in a cost-effective matter.
                     27                 Investor Relations. This category covers the cost of communicating with
                     28 investors and includes creating and updating the receivership website,
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                        1 www.usfiareceiver.com, as well as responding to inquiries from investors and
                        2 interested parties by telephone, mail, and emails sent via the www.usfiareceiver.com
                        3 website. During the Eleventh Application Period, hundreds of calls and emails were
                        4 received from investors with questions about the Court-approved claims process and
                        5 how to submit their claims. The claims process was approved on March 7, 2018.
                        6 Dkt. No. 307. Notices were sent to all known investor emails addresses on or about
                        7 April 6, 2018. Accordingly, this is the largest category of work for the quarter. A
                        8 total of 563.5 hours were spent on these tasks for a total of $65,212.50. The average
                        9 hourly rate was $116.
                     10                 Litigation & Support. This category covers a variety of functions related to
                     11 the support of litigation on behalf of the receivership or investor/victims. A total of
                     12 5.2 hours were spent on these tasks for a total of $1,092. The average hourly rate
                     13 was $210.
                     14                 Project Management. This category covers a variety of functions of managing
                     15 the receivership estate and includes taking possession of bank accounts, identifying
                     16 and marshalling assets, initiating subpoenas, investigating business operations and
                     17 records, analyzing digital records, responding to subpoenas, managing and reviewing
                     18 digital information, taking possession of real property assets, and a variety of matters
                     19 required of the receivership estate. In total, 44.9 hours were expended managing the
                     20 affairs of the receivership estate for a total of $8,672.50, which equates to $193 per
                     21 hour.
                     22                 Property Management. This category covers the cost of managing the estate's
                     23 real property assets. Including cleaning out the company offices on Live Oak and
                     24 preparing the building for sale. No outside property managers have been engaged.
                     25 During the Eleventh Application Period, 50.3 hours were spent managing real estate
                     26 for a total of $8,802.50, or $175 per hour. The Receiver believes he has managed the
                     27 real property assets in a cost-effective manner.
                     28
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                        1               Receiver. This category is only used by the Receiver and includes work to
                        2 manage the myriad requirements of the receivership estate. During this Eleventh
                        3 Application Period, negotiating and concluding real property sales was the primary
                        4 focus of the Receiver’s work. In addition, the Receiver supported discovery and
                        5 document production requests. The Receiver also supervised the forensic accounting
                        6 which is nearing completion and now able to analyze the enterprise’s sources and
                        7 uses of funds. In total, the Receiver spent 53.7 hours, or approximately 11 percent of
                        8 his available working hours in the Eleventh Application Period on all tasks
                        9 performed by the Receiver included in the Receiver, Forensic Accounting and Sell
                     10 Liquidate Assets categories at a total cost of $20,674.50.
                     11                 Receivership Administration. This category consumed 96.2 hours for a total
                     12 of $6,477.50 at an average hourly rate of $67. The work is primarily comprised of
                     13 document preservation and organization and review of incoming mail, which
                     14 provides invaluable clues to locating assets and other matters requiring the attention
                     15 of the Receiver.
                     16                 Sell Liquidate Assets. This category includes work in preparing assets for
                     17 sale, such as commissioning appraisals and retaining listing brokers, ordering title
                     18 reports, preparing the properties for sale, including cleaning and non-capital repairs,
                     19 entertaining offers and negotiating sales, documenting sales, and administering
                     20 escrows to conclude the sales. The hours worked were 178.8 for a total of
                     21 $23,211.00, or $130 per hour. As noted above, the efforts resulted in cash receipts to
                     22 the estate of $287,828 in the application period.
                     23                 Takeover. This category includes work required to take over additional assets
                     24 found by the Receiver during the course of the receivership. It includes preparing
                     25 notices to residents of properties determined to be controlled by receivership entities,
                     26 trips to properties and investigation of ownership. During this application period the
                     27 hours worked were 4.9 for a total of $882.00, or $180 per hour.
                     28
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                        1                    IV.     STANDARDIZED FUND ACCOUNTING REPORT
                        2               Attached hereto as Exhibit D is a Standardized Fund Accounting Report
                        3 reflecting the receipts and disbursements for the Eleventh Application Period.
                        4                       V.    THE FEES AND COSTS ARE REASONABLE
                        5                                  AND SHOULD BE ALLOWED
                        6               "As a general rule, the expenses and fees of a receivership are a charge upon
                        7 the property administered." Gaskill v. Gordon, 27 F.3d 248, 251 (7th Cir. 1994).
                        8 These expenses include the fees and expenses of this Receiver and his professionals,
                        9 including Allen Matkins. Decisions regarding the timing and amount of an award of
                     10 fees and costs to the Receiver and his Professionals are committed to the sound
                     11 discretion of the Court. See SEC v. Elliot, 953 F.2d 1560, 1577 (11th Cir. 1992)
                     12 (rev'd in part on other grounds, 998 F.2d 922 (11th Cir. 1993)).
                     13                 In allowing fees, a court should consider "the time, labor and skill required,
                     14 but not necessarily that actually expended, in the proper performance of the duties
                     15 imposed by the court upon the receiver, the fair value of such time, labor and skill
                     16 measured by conservative business standards, the degree of activity, integrity and
                     17 dispatch with which the work is conducted and the result obtained." United States v.
                     18 Code Prods. Corp., 362 F. 2d 669, 673 (3d Cir. 1966) (internal quotation marks
                     19 omitted). In practical terms, receiver and professional compensation thus ultimately
                     20 rests upon the result of an equitable, multi-factor balancing test involving the
                     21 "economy of administration, the burden that the estate may be able to bear, the
                     22 amount of time required, although not necessarily expended, and the overall value of
                     23 the services to the estate." In re Imperial 400 Nat'l, Inc., 432 F. 2d 232, 237 (3d Cir.
                     24 1970). Regardless of how this balancing test is formulated, no single factor is
                     25 determinative and "a reasonable fee is based [upon] all circumstances surrounding
                     26 the receivership." SEC v. W.L. Moody & Co., Bankers (Unincorporated),
                     27 374 F. Supp. 465, 480 (S.D. Tex. 1974).
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                   EXHIBIT A
                                                                    Exhibit A, Page 9
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                                     #:9071


Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Chen




August 14, 2018


Invoice #11201



           Professional Services

                                                                                           Hrs/Rate      Amount

           Accounting & Reporting

  4/3/2018 MRF Accounting & Reporting                                                         1.30       117.00
               Began reviewing list of owned receivership properties re property tax         90.00/hr
               payments. Met with Thomas Seaman re payments to make.

  4/4/2018 MRF Accounting & Reporting                                                         0.40        36.00
               Gathered additional details and follow up meeting with Thomas                 90.00/hr
               Seaman re which property tax payments to make.

  4/6/2018 AJ     Accounting & Reporting                                                      0.10        21.00
                  Emails with Tom re check that was returned stop payment.                  210.00/hr

 4/10/2018 MRF Accounting & Reporting                                                         0.90        81.00
               Completed making the property tax payments for the receivership real          90.00/hr
               property.

           MRF Accounting & Reporting                                                         1.60       144.00
               Reviewed vendor invoices and processed the accounts payable. Met              90.00/hr
               with Thomas Seaman for approval and gave instructions to Bonnie
               Carver re sending payments.

 4/11/2018 MRF Accounting & Reporting                                                         0.90        81.00
               Processed checks per instructions from Thomas Seaman. Sent wire               90.00/hr
               transfer to Financial Times re claims process. Deposited funds
               turnover received and made the accompanying accounting entries.


           SUBTOTAL:                                                                   [      5.20       480.00]




                                                                                                Exhibit A, Page 10
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                                                                                           Hrs/Rate        Amount

           Forensic Accounting

   4/2/2018 HG    Forensic Accounting                                                         8.30         664.00
                  Prepare and research checks, deposits in Quickbooks for Alison.            80.00/hr

   4/3/2018 HG    Forensic Accounting                                                         4.70         376.00
                  Input data into QuickBooks for Steamfont Scottrade acct ending 7057.       80.00/hr

   4/4/2018 HG    Forensic Accounting                                                         5.10         408.00
                  Review the bank statements that have not been entered into                 80.00/hr
                  Quickbooks for Steamfont and Ahomeland.

           AJ     Forensic Accounting                                                         2.30         483.00
                  Review bank statements and entries on the Steamfont account,              210.00/hr
                  review with Heidi. Confer with Tom re same. Direction to Bonnie and
                  Heidi to stop work until a decision is made. Make revisions and confer
                  with Tom re proper procedure. Met with bonnie and Heidi and
                  provided direction.

           BC     Forensic Accounting                                                         2.00         120.00
                  Entered data into Quick Books for Steamfont Cap - Scottrade #7058.         60.00/hr

           TAS    Forensic Accounting                                                         0.40         154.00
                  Confer re Steamfont accounts consider change methodology re same.         385.00/hr

   4/5/2018 BC    Forensic Accounting                                                         6.20         372.00
                  Entered data into Quick Books for Steamfont Cap - Scottrade #7058.         60.00/hr

           AJ     Forensic Accounting                                                         1.30         273.00
                  Confer with Bonnie and Heidi re entries of new accounts. Run              210.00/hr
                  financials and review additional accounts for revision, etc.

   4/6/2018 HG    Forensic Accounting                                                         8.90         712.00
                  Input data into QuickBooks for Steamfont Scottrade acct ending 7057.       80.00/hr

   4/9/2018 BC    Forensic Accounting                                                         3.20         192.00
                  Entered data into Quick Books for Steamfont Cap - Scottrade #7058.         60.00/hr

           HG     Forensic Accounting                                                         0.90             72.00
                  Input data into QuickBooks for Steamfont Scottrade acct ending 7057.       80.00/hr

  4/10/2018 AJ    Forensic Accounting                                                         1.50         315.00
                  Review accounts with Heidi and work on reconciliation of final            210.00/hr
                  balance. Look up trade amounts, etc. Run reports from the accounting
                  for review and analysis.

           TAS    Forensic Accounting                                                         1.80         693.00
                  Work on analysis for forensic accounting report.                          385.00/hr

  4/11/2018 TAS   Forensic Accounting                                                         3.90        1,501.50
                  Analyze inter-enterprise transfers, prepare worksheet re same, make       385.00/hr
                  correcting entries, reconcile balance, analyze net beneficiaries and
                  flow of funds, confer with Alison re corrections, revise chart of




                                                                                                Exhibit A, Page 11
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                                                                                            Hrs/Rate        Amount

                  accounts, confer re Scottrade and accounting treatment.

  4/11/2018 TAS   Forensic Accounting                                                          0.40         154.00
                  Review draft reports, revise chart of accounts, direct Heidi re edits.     385.00/hr

           TAS    Forensic Accounting                                                          0.30         115.50
                  Direct Heidi re revisions to payments to and from analysis.                385.00/hr

           AJ     Forensic Accounting                                                          1.70         357.00
                  Confer with Tom re report and changes to Payments from and To.             210.00/hr
                  Discuss options, etc. Review accounts and run reports on accounts
                  that need corrections. Confer with Heidi re same. Review reports and
                  make a correction and re run for Heidi to enter data.

           HG     Forensic Accounting                                                          2.60         208.00
                  Edit transactions for Scottrade account and input payment to and from       80.00/hr
                  affiliates data into Excel for Tom.

  4/12/2018 AJ    Forensic Accounting                                                          0.20             42.00
                  Review account records. Email to TD Ameritrade requesting account          210.00/hr
                  ending statements.

           HG     Forensic Accounting                                                          6.60         528.00
                  Input data into Quickbooks for USFIA Inc WF acct ending in 0883 and         80.00/hr
                  7978. Update Cash Vs. Turnover sheet.

  4/13/2018 HG    Forensic Accounting                                                          6.20         496.00
                  Locate not finished accounts by updating Cash vs. Turnover sheet.           80.00/hr
                  Print out documents for Steamfont Capital Investment. Clean up
                  Amkey Inc BofA acct 8645. Update missing bank statement list.

  4/16/2018 HG    Forensic Accounting                                                          7.60         608.00
                  After inputting missing data into QuickBooks for not finished accounts,     80.00/hr
                  reconcile the accounts and update Cash vs. Turnover Current sheet .

           AJ     Forensic Accounting                                                          0.40             84.00
                  Confer with Heidi re transaction entries. Review same, and run reports.    210.00/hr

           AJ     Forensic Accounting                                                          0.30             63.00
                  Confer with Tom re Chen accounting and receive direction. Confer           210.00/hr
                  with Heidi re same.

           AJ     Forensic Accounting                                                          0.20             42.00
                  Review email from TD Ameritrade re records requested and delivery          210.00/hr
                  options, respond to same.

           TAS    Forensic Accounting                                                          0.20             77.00
                  Confer with Alison re forensic accounting issues.                          385.00/hr

  4/17/2018 AJ    Forensic Accounting                                                          0.60         126.00
                  Receive email from TD Ameritrade with encrypted files. Download and        210.00/hr
                  save to folder. Confer with Heidi re same.




                                                                                                 Exhibit A, Page 12
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Thomas Seaman, Receiver for Chen                                                                         Page       4

                                                                                            Hrs/Rate        Amount


  4/17/2018 AJ   Forensic Accounting                                                           0.10             21.00
                 Confer with Bonnie re entry of Steamfont.                                   210.00/hr

           HG    Forensic Accounting                                                           8.40         672.00
                 Input missing data into QuickBooks for Steamfont Scttrd 7057.                80.00/hr
                 Reconcile Steamfont Scottrade 7057 and USFIA Inc WF 7978.
                 Update Cash-vs-turnover-current sheet .

  4/18/2018 HG   Forensic Accounting                                                           5.40         432.00
                 Input data into Quickbooks for Steamfont acct ending in 1254 and             80.00/hr
                 reconcile it. Edit some transactions for Steamfont Scottrade acct
                 ending in 7057. Reconcile Steamfont Scottrade acct ending in 7057
                 and 7058. Update Cash-Vs-Turnover sheet. Make folders and file the
                 documents.

  4/19/2018 AJ   Forensic Accounting                                                           1.20         252.00
                  Call with Tom re accounting on recent items. Confer with Heidi re          210.00/hr
                 same and provide direction. Look up entries, etc. Continue to review
                 and reconcile the accounts.

           HG    Forensic Accounting                                                           2.80         224.00
                 Edit some transactions for Steamfont Scottrade acct ending in 7057           80.00/hr
                 and 7058. Adjust the balance for Quail Ranch BofA 8268 and Hills
                 Garden Hotel BofA 7701. Update Cash-Vs-Turnover sheet.

           TM    Forensic Accounting                                                           0.10             17.50
                 Direction to order bank records.                                            175.00/hr

           TAS   Forensic Accounting                                                           0.50         192.50
                 Confer with Alison re accounting updates, reconciliation process.           385.00/hr

  4/23/2018 HG   Forensic Accounting                                                           7.10         568.00
                 Input data into QuickBooks for CP International acct ending in 5732.         80.00/hr


           SUBTOTAL:                                                                    [    103.40       11,615.00]

           Investor Relations

   4/2/2018 KW   Investor Relations                                                            8.70         565.50
                 Preparing Chen Master email list. Performed on 3/28/18.                      65.00/hr

           KW    Investor Relations                                                            7.30         474.50
                 Preparing Chen Master email list. Performed on 3/29/18.                      65.00/hr

           KW    Investor Relations                                                            6.80         442.00
                 Preparing Chen Master email list and contacting creditors.                   65.00/hr

           TM    Investor Relations                                                            0.20             35.00
                 Call from USA Today re Notice of Creditor Claims Process.                   175.00/hr
                 Requested ability to postpone if portal not completed. Requested




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                                                                                          Hrs/Rate        Amount

                 invoice.

   4/2/2018 TM   Investor Relations                                                          0.10             17.50
                 Call to Financial Times re Friday publication of Notice of Claims Bar     175.00/hr
                 Date. Set time to call them at night.

           TM    Investor Relations                                                          0.10             17.50
                 Direction to add email address for claims process.                        175.00/hr

           TM    Investor Relations                                                          0.10             17.50
                 Another set of calls to Financial Times seeking legal notice              175.00/hr
                 instructions, left message again.

   4/3/2018 KW   Investor Relations                                                          8.00         520.00
                 Preparing Chen Master Contact list and contacting creditors.               65.00/hr

           TM    Investor Relations                                                          1.00         175.00
                 Added email address for claims process. Notified Alison, email to USA     175.00/hr
                 Today and Financial Times to change the email address to the claims
                 process one. Left message with Financial Times. Received credit card
                 form, filled out and retuned by fax.

           TM    Investor Relations                                                          0.50             87.50
                 Discussed problems with getting legal notices published. Call to          175.00/hr
                 Financial Times and discussed. Sent email to them with notice
                 seeking quote.

   4/4/2018 AJ   Investor Relations                                                          1.40         294.00
                 Review and respond to emails and calls from investors re claims           210.00/hr
                 procedure. Confer with Kim re status of email notice list. Give
                 direction on adding employee emails and addresses. Discuss
                 revisions, etc. Email completed list to Epiq for service of the Claims
                 notice.

           KW    Investor Relations                                                          7.80         507.00
                 Preparing Chen Master email list and contacting creditors.                 65.00/hr

           TM    Investor Relations                                                          0.20             35.00
                 Email from Financial Times with request for invoice info, replied and     175.00/hr
                 called to confirm.

           TM    Investor Relations                                                          0.20             35.00
                 Call from USA Today re final item to take care of re scheduling legal     175.00/hr
                 notice, downloaded and signed. Scanned and sent back.

   4/5/2018 HG   Investor Relations                                                          1.90         152.00
                 Translated "Notice of Claims Bar Date" from English to Chinese.            80.00/hr

           AJ    Investor Relations                                                          3.60         756.00
                 Work on Notice for claims. Confer with Tom and Tim re same.               210.00/hr
                 Circulate the draft to Allen Matkins for comments and request draft
                 FAQ's. Revise and email final version of notice to Epiq. Log into
                 website form and review and additional revisions and comments.




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                                                                                           Hrs/Rate        Amount

                 Work with Tom on the final details for the notice, subject line, etc.

   4/5/2018 KW   Investor Relations                                                           7.80         507.00
                 Preparing Chen Master email list and contacting creditors.                  65.00/hr

           TM    Investor Relations                                                           0.10             17.50
                 Email from Financial Times re publication of Notice of Claims Bar          175.00/hr
                 Date.

   4/6/2018 AJ   Investor Relations                                                           5.60        1,176.00
                 Work on FAQ's for website. Calls and emails with Epiq re proof of          210.00/hr
                 claim notice. Review and discuss final items. Confer with Tom re
                 FAQ's. Discuss process with Tim, translation of FAQ's posting of
                 notice, etc. Confer with Kim re mailing notice to creditors, give
                 direction re same. Discuss mailing address and Tom to get a PO box.
                 Make final updates and confer with staff re same. Send test email,
                 and test links. Call with Tim re website link error.

           AJ    Investor Relations                                                           0.30             63.00
                 Review emails and correspondence from investors looking for update         210.00/hr
                 on claim filing. Confer with Tom re same.

           KW    Investor Relations                                                           8.90         578.50
                 Preparing Chen Master email list. Editing letters for Creditors and         65.00/hr
                 Employees without email contacts. Creating labels and preparing all
                 letters to be sent by mail.

           TM    Investor Relations                                                           0.10             17.50
                 Email to Financial Times re publication of Notice of Claims Bar Date       175.00/hr
                 and edition of publication.

           TM    Investor Relations                                                           1.00         175.00
                 Discussed FAQ's for Claims Process with Heidi and got estimate of          175.00/hr
                 time needed for completion of translation. Calls and emails to
                 translation service explaining need for rush job. Exchanged info, calls
                 and emails from same.

           TM    Investor Relations                                                           0.50             87.50
                 Received email from Epiq re claim forms. Checked and reviewed              175.00/hr
                 links. Emails from Epiq re same.

   4/7/2018 TM   Investor Relations                                                           0.90         157.50
                 Checked FAQ page and call to Network Solutions re DNS error.               175.00/hr
                 Determined error which needed correction, logged on and fixed.

           TM    Investor Relations                                                           0.10             17.50
                 Email from translation service, replied re moving forward immediately.     175.00/hr

   4/9/2018 HG   Investor Relations                                                           7.90         632.00
                 Translate Notice Auction from English to Chinese. Translate labels          80.00/hr
                 from English to Chinese. Answer investors questions in the office.




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                                                                                          Hrs/Rate        Amount


   4/9/2018 AJ   Investor Relations                                                          0.70         147.00
                 Review emails from investors, forward issues with claim portal. Email     210.00/hr
                 to Epiq re same.

           TM    Investor Relations                                                          1.00         175.00
                 Met with investor/victims re getting access to website and claim form.    175.00/hr
                 Long conversation with all three and assisted.

           TM    Investor Relations                                                          0.30             52.50
                 Call from Alison re webmail access re claims account. Tried and got       175.00/hr
                 on. Sent her new directions via email.

           TM    Investor Relations                                                          1.50         262.50
                 Posted website update re auction.                                         175.00/hr

           KW    Investor Relations                                                          8.00         520.00
                 Organizing and consolidating Chen Creditors invoices.                      65.00/hr

  4/10/2018 KW   Investor Relations                                                          6.60         429.00
                 Going through Chen Creditors. Meeting to strategize on handling            65.00/hr
                 claimants questions.

           HG    Investor Relations                                                          6.40         512.00
                 Review and edit claim process FAQs in Chinese.                             80.00/hr

           AJ    Investor Relations                                                          3.00         630.00
                 Review emails from claimants. Message to Epic re potential issues.        210.00/hr
                 Log in and go through claims portal. Send screen shot issues to Epiq
                 for resolution. Emails from Epiq re same. Continue to review
                 messages and review issues and questions. Confer with Heidi and
                 Tim re same.

           AJ    Investor Relations                                                          0.40             84.00
                 Confer with Bonnie and Kim re status of claims, process, response,        210.00/hr
                 etc. Confer with Heidi re same. Advise re meeting later to review all.

           AJ    Investor Relations                                                          1.30         273.00
                 Met with Heidi, Kim, and Bonnie to review claims process, FAQ's,          210.00/hr
                 claim instructions, and responses from us to the claimants.

           TM    Investor Relations                                                          2.00         350.00
                 Posted Chinese update re auction. Sent out emails to subscribers.         175.00/hr
                 Discussed minor edits with Heidi. Turned in invoice for payment.

  4/11/2018 AJ   Investor Relations                                                          0.80         168.00
                 Confer with Tim re log into the mail.usfia account. Log in and request    210.00/hr
                 change to settings. Review emails. Confer with Tim again and make
                 settings change.

           AJ    Investor Relations                                                          2.20         462.00
                 Review emails and claimant questions. Met with Bonnie to discuss          210.00/hr
                 responses in detail. Review and walk through entering a test claim.




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                                                                                            Hrs/Rate        Amount

                 Discuss translation procedures, responses to emails, etc. Met with
                 investor that walked in. Instruct Kim to check mail box.

  4/11/2018 HG   Investor Relations                                                            4.10         328.00
                 Edit claim process FAQs in Chinese and review the claim form in              80.00/hr
                 Chinese.

           BC    Investor Relations                                                            4.50         270.00
                 Responded to emails regarding claim process.                                 60.00/hr

           TM    Investor Relations                                                            0.30             52.50
                 Met with investor and directed him to website, printed 2 copies of the      175.00/hr
                 FAQ's for Claims Process.

           TM    Investor Relations                                                            0.10             17.50
                 Process approval of invoice for Financial Times Notice of Claims Bar        175.00/hr
                 Date.

           KW    Investor Relations                                                            4.90         318.50
                 Chen email list.                                                             65.00/hr

  4/12/2018 AJ   Investor Relations                                                            1.20         252.00
                 Respond to emails from claimants. Email to Epiq re confirmation on          210.00/hr
                 emails sent. Met with Kim and Bonnie re investor email responses,
                 and next steps to verify notice sent to all. Work on email responses
                 with Bonnie, etc.

           HG    Investor Relations                                                            0.90             72.00
                 Review the claim form in Chinese.                                            80.00/hr

           AJ    Investor Relations                                                            0.70         147.00
                 Research issue regarding invalid addresses. Discuss again with Kim.         210.00/hr
                 Confer with Kim and Tim re notice to remaining 25k potential
                 claimants. Discuss issues with email address errors, messages
                 bouncing back, etc. Need to re-open constant contact account and
                 discuss with them.

           AJ    Investor Relations                                                            2.20         462.00
                 Review investor and claimant emails and respond. Confer with Bonnie         210.00/hr
                 re same. Confer with Tom re issues and update on status. Emails with
                 Epiq to bring attention to a couple of issues with the service of the
                 notice. Also with issues on the upload issue and ways to correct initial
                 claims. Review responses to same.

           BC    Investor Relations                                                            6.20         372.00
                 Responded to emails regarding claim process.                                 60.00/hr

           TM    Investor Relations                                                            0.20             35.00
                 Discussion with Alison and Kimberley re need for mass email to go           175.00/hr
                 through Constant Contact re creditors.




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                                                                                         Hrs/Rate        Amount

  4/12/2018 KW   Investor Relations                                                         7.40         481.00
                 Working on and testing emails that were unable to send in the mass        65.00/hr
                 email blast.

  4/13/2018 BC   Investor Relations                                                         6.50         390.00
                 Responded to emails regarding claim process.                              60.00/hr

           AJ    Investor Relations                                                         0.20             42.00
                 Call with Tim re sending the claims notice to the email list. Review     210.00/hr
                 email from Epiq re results on their mailing later today or next week.

           AJ    Investor Relations                                                         5.00        1,050.00
                 Continue to review emails and respond to claimant inquires. Confer       210.00/hr
                 with Bonnie, Tom, and Kim re same. Review emails from Epiq re
                 answers to questions and inquires. Request additional info on
                 documentation for previously submitted claims. Review email from
                 Tom with transaction documentation that investor text to him.

           TM    Investor Relations                                                         1.40         245.00
                 Call from Alison to make changes to USFIA website to keep the            175.00/hr
                 claims process posting at top. Made changes and checked hyperlinks
                 re same. Discussed with Kimberley that she is almost ready with the
                 excel spreadsheet to send to mass emailer re claims process.
                 Another call from Alison to send out regular notice of claims process
                 through our normal email program. Sent out the regular notice.
                 Repeatedly checked with Constant Contact re why email was not
                 going out.

           TM    Investor Relations                                                         0.80         140.00
                 Updated Frequently Asked Questions in Chinese and published.             175.00/hr
                 Changed and checked links.

           KW    Investor Relations                                                         0.80             52.00
                 Working on and testing emails that were unable to send in the mass        65.00/hr
                 email blast.

  4/14/2018 TM   Investor Relations                                                         0.20             35.00
                 Checked with Constant Contact why notice email is not going out.         175.00/hr

  4/16/2018 BC   Investor Relations                                                         5.50         330.00
                 Responded to emails regarding claim process.                              60.00/hr

           AJ    Investor Relations                                                         1.60         336.00
                 Review and respond to emails re claim issues. Emails with Epiq re        210.00/hr
                 same. Confer with Bonnie and Kim re response to same.

           AJ    Investor Relations                                                         0.10             21.00
                 Reach out to creditor re items to be returned.                           210.00/hr

           AJ    Investor Relations                                                         0.50         105.00
                 Confer with Tom re claimants messaging him with questions and            210.00/hr
                 concerns on claim form filing. Review messages he received, and




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                                                                                              Hrs/Rate        Amount

                 email Epiq re same.

  4/17/2018 AJ   Investor Relations                                                              0.30             63.00
                 Review email from Andrea with info related to the claims notice.              210.00/hr

           AJ    Investor Relations                                                              0.20             42.00
                 Call with investor with questions on filing claim.                            210.00/hr

           AJ    Investor Relations                                                              0.30             63.00
                 Call with creditor re items located, need invoice and will call re picking    210.00/hr
                 up items. Review and print invoice.

           BC    Investor Relations                                                              6.20         372.00
                 Responded to emails regarding claim process.                                   60.00/hr

           KW    Investor Relations                                                              3.00         195.00
                 Correcting claimant addresses.                                                 65.00/hr

  4/18/2018 BC   Investor Relations                                                              2.70         162.00
                 Responded to emails regarding claim process.                                   60.00/hr

           HG    Investor Relations                                                              1.30         104.00
                 Answer the investor's questions regarding to claims.                           80.00/hr

  4/19/2018 BC   Investor Relations                                                              3.20         192.00
                 Responded to emails regarding claim process.                                   60.00/hr

           AJ    Investor Relations                                                              0.10             21.00
                 Review email from Ted re notices on claims.                                   210.00/hr

           AJ    Investor Relations                                                              1.20         252.00
                 Review message from Epiq. Call with Lori re issues with Chinese               210.00/hr
                 form. Review emails re same. Download forms and review. Give Heidi
                 instruction on translation. Discuss again briefly and give direction on
                 communication to send claimants.

           AJ    Investor Relations                                                              3.60         756.00
                 Confer with Heidi re call with investor. Review investor emails and           210.00/hr
                 claim questions. Look up member ID's, and respond to inquires.

           HG    Investor Relations                                                              4.10         328.00
                 Review claim forms in Chinese.                                                 80.00/hr

           KW    Investor Relations                                                              4.10         266.50
                 Analyzing and correcting investor returned emails.                             65.00/hr

  4/20/2018 HG   Investor Relations                                                              6.30         504.00
                 Talk and email to investors regarding to claims.                               80.00/hr




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                                                                                          Hrs/Rate        Amount

  4/20/2018 BC   Investor Relations                                                          2.40         144.00
                 Responded to emails regarding claim process.                               60.00/hr

  4/23/2018 BC   Investor Relations                                                          2.50         150.00
                 Responded to emails regarding claim process.                               60.00/hr

  4/24/2018 BC   Investor Relations                                                          2.30         138.00
                 Responded to emails regarding claim process.                               60.00/hr

           AJ    Investor Relations                                                          3.60         756.00
                 Review emails and correspondence from claimants. Confer with              210.00/hr
                 Bonnie and Kim re responses to issues and questions. Review form
                 and consider revisions, etc. Make notes for call with Epic re same.

  4/25/2018 AJ   Investor Relations                                                          1.80         378.00
                 Conference call with Bonnie and Lori and Cheryl with Epic re claim        210.00/hr
                 system importing fields, review class and priority, etc.

           AJ    Investor Relations                                                          1.10         231.00
                 Review emails and correspondence. Confer with Bonnie re same.             210.00/hr

           AJ    Investor Relations                                                          0.10             21.00
                 Call to vendor re picking up product.                                     210.00/hr

           BC    Investor Relations                                                          2.00         120.00
                 Responded to emails regarding claim process.                               60.00/hr

           TM    Investor Relations                                                          0.10             17.50
                 Checked for case documents from PACER.                                    175.00/hr

           TM    Investor Relations                                                          0.80         140.00
                 Prepared mass mailing re claims process.                                  175.00/hr

  4/26/2018 BC   Investor Relations                                                          1.90         114.00
                 Responded to emails regarding claim process.                               60.00/hr

           HG    Investor Relations                                                          0.40             32.00
                 Email the investor for re-filing the claims. Make folder for re-filing     80.00/hr
                 claims.

           TM    Investor Relations                                                          1.70         297.50
                 Call to Constant Contact re mass email. Set up new system and sent        175.00/hr
                 notice via email.

           AJ    Investor Relations                                                          2.10         441.00
                 Review emails and messages re claim access, form completion               210.00/hr
                 questions, etc. Confer with Bonnie re same. Calls and emails with
                 investors and creditors.




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                                                                                              Hrs/Rate        Amount

  4/27/2018 BC   Investor Relations                                                              2.50         150.00
                 Responded to emails from investors.                                            60.00/hr

           AJ    Investor Relations                                                              1.20         252.00
                 Review messages and correspondence from investors with questions              210.00/hr
                 on claims portal, etc. Confer with Bonnie re requests for paper claim
                 form. Calls with vendor creditors, investors, etc.

  4/30/2018 BC   Investor Relations                                                              3.10         186.00
                 Responded to emails from investors.                                            60.00/hr

           AJ    Investor Relations                                                              4.00         840.00
                 Confer with Bonnie re claimant questions and give direction on                210.00/hr
                 responses. Review emails and correspondence from claimants and
                 investors. Work on revising online form for use as a paper claim.
                 Confer with Bonnie re same and save final form for sending to those
                 requesting it in Pub Docs.


           SUBTOTAL:                                                                      [    240.80       24,907.00]

           Litigation & Support

   4/2/2018 AJ   Litigation & Support                                                            0.50         105.00
                 Provide direction to Heidi re preparing a worksheet for additional            210.00/hr
                 subpoenas for Wei He matter. Follow up and review work and request
                 revisions.

   4/4/2018 AJ   Litigation & Support                                                            0.80         168.00
                 Work on researching and reviewing the bank records from subpoena.             210.00/hr


           SUBTOTAL:                                                                      [      1.30         273.00]

           Project Management

   4/1/2018 DC   Project Management                                                              2.10         357.00
                 Went to Santa Ana storage for last remaining items. Disconnected              170.00/hr
                 portable ac unit and ducting in preparation to install in new server
                 room at new storage facility where USFIA servers will be housed.

   4/2/2018 AJ   Project Management                                                              0.30             63.00
                 Confer with Tim re auction issues, security concerns, etc.                    210.00/hr

           AJ    Project Management                                                              0.20             42.00
                 Received email from TD Ameritrade re Steamfont account records                210.00/hr
                 and funds are on the way. Forward to team and respond re same.

           AJ    Project Management                                                              2.40         504.00
                 Review email from Epic with draft claims form, print and create a log         210.00/hr
                 in to walk through the form on line in portal. Prepare responses to
                 questions, and make notes for revisions, etc. Call and email to Tim re




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                                                                                              Hrs/Rate        Amount

                 setting up the claims email account.

   4/2/2018 AJ   Project Management                                                              0.30             63.00
                 Call from Andre with AUSA's office. Email response to question on             210.00/hr
                 auction of computers. Review response.

           AJ    Project Management                                                              0.20             42.00
                 Email to David with BRG requesting scheduling for server relocation.          210.00/hr

   4/3/2018 AJ   Project Management                                                              0.80         168.00
                 Receive checks and statements for Steamfont accounts. Confer with             210.00/hr
                 Tom and Matt re depositing the funds. Extract the bank records and
                 save to pub docs. Met with Heidi to provide direction on entering them
                 into the accounting.

           AJ    Project Management                                                              0.40             84.00
                 Calls and emails with AUSA's office re subpoena and records and               210.00/hr
                 devices that are subject to preservation. Call with Tom re same.

           AJ    Project Management                                                              0.30             63.00
                 Review message from bank regarding records turned over in error,              210.00/hr
                 check stop payment, etc. Call with Matt re same.

           DC    Project Management                                                              0.40             68.00
                 Worked on establishing internet for server move. Discussed location           170.00/hr
                 of cable modem and wireless router.

           DC    Project Management                                                              0.60         102.00
                 Received call from Alison Juroe with questions about guns at Arcadia          170.00/hr
                 office. Researched documentation on history of guns. Left message
                 for Tim Hsu. Talked with Tim Hsu to verify where we left off with guns.
                 Talked to gun shop. Texted Alison with info.

   4/4/2018 DC   Project Management                                                              0.40             68.00
                 Call with Cox regarding setting up new internet at facility for hosting of    170.00/hr
                 servers; conferenced in Dan regarding wireless router, ip's etc.

           DC    Project Management                                                              0.10             17.00
                 Dealt with more issues related to storage and internet.                       170.00/hr

           AJ    Project Management                                                              0.70         147.00
                 Review report from Heidi re escrow checks, etc. Review list and               210.00/hr
                 research property ownership. Create folder with research findings.

           AJ    Project Management                                                              0.80         168.00
                 Finalize review of online claim form and send email to Epiq with              210.00/hr
                 comments and answers their questions related to the form.

           AJ    Project Management                                                              0.10             21.00
                 Review email from bank re turnover of records for Steamfont, check            210.00/hr
                 reissue, etc.




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                                                                                             Hrs/Rate        Amount


   4/4/2018 AJ   Project Management                                                             0.40             84.00
                 Confer with Matt and Tom re property tax bills, status of take over, etc.    210.00/hr

   4/5/2018 TM   Project Management                                                             0.10             17.50
                 Discussed installation of cable into storage for server move with            175.00/hr
                 Darren and proposed time.

           TM    Project Management                                                             0.10             17.50
                 Call from landlord of storage re time to install cable.                      175.00/hr

           DC    Project Management                                                             0.60         102.00
                 Had to deal with more issues related to moving servers into storage          170.00/hr
                 facility and internet access. Worked though issues with Cox re
                 contract, setup etc.

   4/6/2018 TM   Project Management                                                             0.20             35.00
                 Call from landlord re time to do cable install. Email from landlord re       175.00/hr
                 signage and replied to keep blank.

           TM    Project Management                                                             1.30         227.50
                 Email from landlord re signage, replied re same. Call from landlord re       175.00/hr
                 minor work to be performed on storage re installation of line to service
                 cable. Checked that storage was locked up after work performed by
                 engineering on storage.

   4/9/2018 DC   Project Management                                                             0.30             51.00
                 Had call with Cox installer regarding new internet for server move.          170.00/hr

           AJ    Project Management                                                             0.30             63.00
                 Calls and messages with Tom re movers and truck rental for server            210.00/hr
                 move.

           AJ    Project Management                                                             0.10             21.00
                 Messages with Dan re meeting at Arcadia office.                              210.00/hr

           AJ    Project Management                                                             0.30             63.00
                 Rented truck online from U-haul.                                             210.00/hr

           AJ    Project Management                                                             1.50         315.00
                 Travel time at 50% of time to and from Arcadia office, and to storage        210.00/hr
                 in Irvine.

           AJ    Project Management                                                             5.00        1,050.00
                 Met with BRG to discuss and coordinate server move. Met with Dan to          210.00/hr
                 review computers that need to be wiped in prep for auction. Met with
                 Mike and Tiffany to discuss auction, etc. Email to Charles Carmona re
                 report on valuation of jewelry. Reviewed and located the final
                 machines required Change backup tape and verify backup, subpoena
                 and set aside for movers. Met with movers and discussed job.




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                                                                                            Hrs/Rate        Amount

   4/9/2018 AJ   Project Management                                                            0.50         105.00
                 Onsite at storage facility to unload computers from car.                    210.00/hr

           AJ    Project Management                                                            0.30             63.00
                 Call with Tom re move issues, need to install additional electrical at      210.00/hr
                 storage, etc. Order U-haul online for movers tomorrow.

           TM    Project Management                                                            1.70         297.50
                 Calls from Alison re entry to unit. Call from drivers and went to           175.00/hr
                 storage. Assisted unload of servers.

  4/10/2018 AJ   Project Management                                                            0.50         105.00
                 Met with David and Darielle at storage to provide access, and review        210.00/hr
                 the server locations, set up, etc. Unload hard drives from USFIA
                 offices as well.

           AJ    Project Management                                                            0.40             84.00
                 Confer with Tom re electrical needed in storage for servers. Met with       210.00/hr
                 Tim and request he contact landlord re same. Follow up calls and
                 emails re same.

           AJ    Project Management                                                            0.10             21.00
                 Follow up calls with David re timing and status of server move.             210.00/hr

           TM    Project Management                                                            1.00         175.00
                 Direction from Alison to get an electrician re servers at storage. Calls    175.00/hr
                 to landlord re preferred vendor, call to same and arranged. Call to
                 Pryor and server technicians.

           DC    Project Management                                                            0.40             68.00
                 Worked on issues related to new internet install at server co-location.     170.00/hr

  4/11/2018 AJ   Project Management                                                            0.50         105.00
                 Follow up with David and Dan re remote access and setting a time to         210.00/hr
                 meet. Message Dan David's number. Call with David to get status on
                 finishing the server relocation. Confer with Tom re key for Dan. Find
                 key, label and return to key box, confer with Tim re same.

           TM    Project Management                                                            0.40             70.00
                 Call from Cox re setup at storage. Gave to Darren to handle. Call from      175.00/hr
                 electrician re work at storage, texts to and from server setup people re
                 same. Call to landlord re need for engineer to open the outside
                 electrical and communications unit. Call from Cox re follow-up and
                 gave to Darren.

           TM    Project Management                                                            2.10         367.50
                 Call from Tom searching for PACER document. Located and put on              175.00/hr
                 website. Posted 35 related documents to the Case Documents page.
                 Made translation page for Heidi re missing document. Tested links
                 and published. Made backup. Discussed needed changes with Heidi
                 re wording used in claim form related to our posts.




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                                                                                            Hrs/Rate        Amount

  4/11/2018 TM   Project Management                                                            0.10             17.50
                 Downloaded PACER documents.                                                 175.00/hr

           DC    Project Management                                                            1.60         272.00
                 Went to new server and storage location to meet internet provider and       170.00/hr
                 provide instruction. Met with contractor to upgrade electrical capacity
                 for servers.

           DC    Project Management                                                            1.40         238.00
                 Discussed equipment needed with IT company. Purchased necessary             170.00/hr
                 equipment and delivered to facility and confirmed completion of work
                 by internet provider; notified internal IT department of completed work.

  4/12/2018 AJ   Project Management                                                            0.20             42.00
                 Calls with Dan re setting up remote access to Chen servers, meeting         210.00/hr
                 with David, etc. Confer with Tom re same.

  4/13/2018 AJ   Project Management                                                            0.10             21.00
                 Confer with Heidi re revision to the FAQ's in Chinese and advise Tim        210.00/hr
                 re same. Send email with Entity to add.

  4/14/2018 TM   Project Management                                                            0.20             35.00
                 Checked on status of server move and adjusted air conditioning re           175.00/hr
                 same.

  4/16/2018 AJ   Project Management                                                            0.10             21.00
                 Respond to email from Dan with contact info for David at BRG.               210.00/hr

           TM    Project Management                                                            1.50         262.50
                 Call to post office re forwarding and related matters. Filled out online    175.00/hr
                 forms for same.

           TM    Project Management                                                            0.20             35.00
                 Call from Tom re need to send recent title reports to Zaro, did so in       175.00/hr
                 email.

  4/17/2018 AJ   Project Management                                                            0.30             63.00
                 Call with Wali re visitor to Arcadia office that wants a call. Review       210.00/hr
                 message re same.

           AJ    Project Management                                                            0.60         126.00
                 Messages with Dan re remote access to database. Log in and test             210.00/hr
                 connections. Search records for document with log in and passwords.

  4/18/2018 AJ   Project Management                                                            1.40         294.00
                 Travel time at 50% of time to and from Arcadia office.                      210.00/hr

  4/19/2018 AJ   Project Management                                                            0.10             21.00
                 Review email from Dan with info fond on laptop for Lili - Gemcoin.          210.00/hr
                 Nothing but a user and log in info for Chrome.




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                                                                                              Hrs/Rate        Amount

  4/19/2018 AJ   Project Management                                                              0.20             42.00
                 Prepare reimbursement forms, confer with Kim re same.                         210.00/hr

  4/22/2018 TM   Project Management                                                              1.00         175.00
                 Call from Landfried re security issue at Live Oak. Calls to and from.         175.00/hr
                 Calls to auctioneer re same.

  4/24/2018 AJ   Project Management                                                              0.10             21.00
                 Review email from the gem appraiser regarding info requested.                 210.00/hr

           AJ    Project Management                                                              0.20             42.00
                 Review email from Lori at Epic re setting a teleconference.                   210.00/hr

  4/26/2018 AJ   Project Management                                                              0.20             42.00
                 Review DOJ subpoena and call to Tom to discuss.                               210.00/hr

  4/27/2018 AJ   Project Management                                                              0.20             42.00
                 Review emails re DOJ subpoena. Review attachments.                            210.00/hr


           SUBTOTAL:                                                                      [     37.90        7,296.50]

           Property Management

   4/2/2018 TM   Property Management                                                             0.10             17.50
                 Received pool invoice for Deodar and approved.                                175.00/hr

           TM    Property Management                                                             1.20         210.00
                 Call from Walters re need for extra dumpster. Also discussed need for         175.00/hr
                 security personnel on all auction days. Multiple calls and long hold
                 times, told that our account is grandfathered and that we cannot order
                 new service through them.

           TM    Property Management                                                             1.20         210.00
                 Notified landlord of intent to vacate Cloverly. Searched for notice           175.00/hr
                 information in lease and online. Sent via UPS and USPS.

   4/3/2018 TM   Property Management                                                             0.50             87.50
                 Question from Matthew re property still owned. Reviewed and                   175.00/hr
                 prepared report for property tax purposes.

           TM    Property Management                                                             1.20         210.00
                 Call to Arcadia re waste hauling, got names and phone numbers of              175.00/hr
                 the three allowed haulers and made Outlook contacts. Calls to haulers
                 then got additional pickups for existing service.

   4/4/2018 TM   Property Management                                                             0.10             17.50
                 Email to Walters re garbage collection.                                       175.00/hr

   4/5/2018 TM   Property Management                                                             0.20             35.00
                 Email from landlord at Cloverly re confirmation that we will vacate.          175.00/hr
                 Email to Tom re the property in the warehouse. Discussed same with




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                                                                                                 Hrs/Rate        Amount

                  Tom.

   4/9/2018 TM    Property Management                                                               0.10             17.50
                  Received notice from Alison re Riverside County property.                       175.00/hr

  4/10/2018 TM    Property Management                                                               0.30             52.50
                  Call from landlord re Cloverly and discussed turnover and auction               175.00/hr
                  times. Email to same. Direction to Matthew re proration of final days of
                  rent.

           TM     Property Management                                                               0.50             87.50
                  Question from Matthew re bill for Balboa water. Checked tracking                175.00/hr
                  spreadsheet and determined I had previously sent in request for
                  turnoff. Call to utilities department and explained. Utilities found my
                  previous workorder and agreed to send new closing ill. Informed
                  Matthew new bill will come.

  4/11/2018 TM    Property Management                                                               0.30             52.50
                  Received invoices for security services and approved.                           175.00/hr

  4/15/2018 TM    Property Management                                                               0.10             17.50
                  Calls to and from security, Alison, Dan re alarm at Live Oak. Called off        175.00/hr
                  dispatch.

  4/16/2018 TM    Property Management                                                               0.50             87.50
                  Calls from Warlin re insurance notification re Deodar. Asked for notice         175.00/hr
                  to be emailed to me, asked for additional quote re same to present to
                  Tom. Received items from Warlin for review.

  4/17/2018 TM    Property Management                                                               1.00         175.00
                  Prepared documents for signature and spreadsheet with the two                   175.00/hr
                  insurance options for Deodar. Gathered signatures, printed, copied,
                  instructions for Matthew re check to send to insurance broker re same.

  4/18/2018 TM    Property Management                                                               1.10         192.50
                  Gathered check, made backup and sent via UPS to Warlin re new                   175.00/hr
                  policy. Emails to and from Warlin re same. Made "No Loss" letter per
                  instructions and printed.

  4/23/2018 TM    Property Management                                                               0.20             35.00
                  Gathered signature to "No Loss" letter to insurance company for                 175.00/hr
                  Deodar. Scanned and sent to broker.


           SUBTOTAL:                                                                         [      8.60        1,505.00]

           Receiver

   4/3/2018 TAS   Receiver                                                                          0.40         154.00
                  Confer with Alison re computer move, request of AUSA to keep                    385.00/hr
                  certain machines, site visit re same; direct re auctioneer.




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                                                                                           Hrs/Rate        Amount


   4/3/2018 TAS   Receiver                                                                    0.40         154.00
                  Confer with Alison re personal property sales, diamonds. Telephone        385.00/hr
                  call with parties interested in diamonds.

           TAS    Receiver                                                                    0.20             77.00
                  Review receipt of Steamfont funds, sources of same, confer re             385.00/hr
                  accounting treatment.

           TAS    Receiver                                                                    0.20             77.00
                  Confer with Alison re subpoena production.                                385.00/hr

           TAS    Receiver                                                                    0.40         154.00
                  Confer with Matt re property tax bills to pay.                            385.00/hr

   4/4/2018 TAS   Receiver                                                                    0.60         231.00
                  Telephone call with David re backup on houses we still need to            385.00/hr
                  recover, review back up with Alison, follow up with David, request new
                  title date downs.

   4/5/2018 TAS   Receiver                                                                    0.30         115.50
                  Confer with Alison re claims process and issuing form.                    385.00/hr

           TAS    Receiver                                                                    0.60         231.00
                  Confer with Alison re additional properties and take possession of and    385.00/hr
                  evidence supporting why; direct Tim re title reports needed.

           TAS    Receiver                                                                    0.90         346.50
                  Confer with Alison re auction status and details on certain items,        385.00/hr
                  values, direct re other assets and coordination of same.

           TAS    Receiver                                                                    0.30         115.50
                  Confer with Tim re Cloverly landlord, notice re vacating, direct re       385.00/hr
                  personal property at premises.

           TAS    Receiver                                                                    0.20             77.00
                  Confer with Tim re online auction.                                        385.00/hr

           TAS    Receiver                                                                    0.10             38.50
                  Confer re returned check.                                                 385.00/hr

           TAS    Receiver                                                                    0.30         115.50
                  Confer with David re remaining properties to take control of and sell.    385.00/hr

           TAS    Receiver                                                                    0.40         154.00
                  Telephone call with David Zaro re FAQ's.                                  385.00/hr

   4/6/2018 TAS   Receiver                                                                    0.90         346.50
                  Deal with Claims related issues on FAQ, portal, emails, get PO box,       385.00/hr
                  other, finalize and approve.




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                                                                                          Hrs/Rate        Amount

   4/6/2018 TAS   Receiver                                                                   0.20             77.00
                  Confer with Alison re investor inquiries, direct re same.                385.00/hr

           TAS    Receiver                                                                   0.30         115.50
                  Confer re computer move, servers, wiping hard drives of machines to      385.00/hr
                  be sold, etc.

   4/9/2018 TAS   Receiver                                                                   0.30         115.50
                  Forward parties to auction website.                                      385.00/hr

           TAS    Receiver                                                                   0.80         308.00
                  Coordinate movers, Uhaul, timing, direction on what to move where,       385.00/hr
                  calls with Alison, movers, etc.

           TAS    Receiver                                                                   0.30         115.50
                  Telephone call with David Zaro re publication and notice.                385.00/hr

  4/10/2018 TAS   Receiver                                                                   0.40         154.00
                  Review and sign checks for bills, review cash position.                  385.00/hr

           TAS    Receiver                                                                   0.20             77.00
                  Confer re additional electrical need for server installation, approve    385.00/hr
                  same.

           TAS    Receiver                                                                   0.20             77.00
                  Confer re additional electrical need for server installation, approve    385.00/hr
                  same.

  4/11/2018 TAS   Receiver                                                                   0.50         192.50
                  Confer re claims inflow and issues.                                      385.00/hr

           TAS    Receiver                                                                   0.40         154.00
                  Confer with Alison auction preparation.                                  385.00/hr

           TAS    Receiver                                                                   0.30         115.50
                  Confer with Alison re title and accounting on Qun Yang property.         385.00/hr

           TAS    Receiver                                                                   0.30         115.50
                  Review incoming funds, direct Matt re accounting for same.               385.00/hr

           TAS    Receiver                                                                   0.30         115.50
                  Direct Tim re website update and documents to upload.                    385.00/hr

  4/12/2018 TAS   Receiver                                                                   0.20             77.00
                  Confer re status of server move.                                         385.00/hr

           TAS    Receiver                                                                   0.40         154.00
                  Confer with Alison re status of claims process.                          385.00/hr

           TAS    Receiver                                                                   0.40         154.00
                  Telephone call with David Zaro re claims inflow, disputed claims and     385.00/hr
                  proving claims, investor communications re same.




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                                                                                            Hrs/Rate        Amount


  4/13/2018 TAS   Receiver                                                                     0.20             77.00
                  Give direction re auction.                                                 385.00/hr

           TAS    Receiver                                                                     0.40         154.00
                  Give direction re claimant inquiries and replies.                          385.00/hr

           TAS    Receiver                                                                     0.40         154.00
                  Telephone call with David Zaro re Steamfont properties title review.       385.00/hr

           TAS    Receiver                                                                     0.40         154.00
                  Telephone call with David Zaro re issues with claims portal,               385.00/hr
                  publication.

  4/16/2018 TAS   Receiver                                                                     0.40         154.00
                  Confer with David Zaro re additional records re Steamfont properties,      385.00/hr
                  payments for and related transfers.

  4/19/2018 TAS   Receiver                                                                     0.20             77.00
                  Confer with Alison re auction.                                             385.00/hr

           TAS    Receiver                                                                     0.30         115.50
                  Direct Tim re Live Oak listing agreement and addendum.                     385.00/hr

           TAS    Receiver                                                                     0.20             77.00
                  Telephone call with David Zaro re recovery strategy for properties paid    385.00/hr
                  for by receivership entities but not yet monetized.

           TAS    Receiver                                                                     0.20             77.00
                  Telephone call with David Zaro re Li Zhao claim dispute.                   385.00/hr

  4/20/2018 TAS   Receiver                                                                     0.30         115.50
                  Review prior commission structures for similar assets, determine           385.00/hr
                  appropriate commission structure.

           TAS    Receiver                                                                     0.40         154.00
                  Consider Live Oak value, determine listing price.                          385.00/hr

  4/23/2018 TAS   Receiver                                                                     0.10             38.50
                  Execute listing agreement.                                                 385.00/hr

           TAS    Receiver                                                                     0.30         115.50
                  Confer re takeover of Steamfont properties.                                385.00/hr

           TAS    Receiver                                                                     0.70         269.50
                  Telephone call with David Zaro re letters to various residents of          385.00/hr
                  properties we are taking over.




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                                                                                             Hrs/Rate        Amount

  4/23/2018 TAS   Receiver                                                                      0.50         192.50
                  Edit letters after David's input.                                           385.00/hr

  4/25/2018 TAS   Receiver                                                                      0.30         115.50
                  Direct Tim re actions to take to avoid adverse possession allegation        385.00/hr
                  on Steamfont property.

  4/26/2018 TAS   Receiver                                                                      0.70         269.50
                  Telephone call with David Zaro re subpoena, direct Alison re same;          385.00/hr
                  confer re strategy to encourage filing of claims.

  4/27/2018 TAS   Receiver                                                                      0.40         154.00
                  Read email from Richard Robinson re subpoena, confer with Alison            385.00/hr
                  and telephone call with David re same, read, execute declaration of
                  custodian of records, etc.

           TAS    Receiver                                                                      0.40         154.00
                  Confer with Tim Hsu re subpoena production.                                 385.00/hr

  4/30/2018 TAS   Receiver                                                                      0.30         115.50
                  Confer re updated auction number and how to handle rest of stuff,           385.00/hr
                  have funds wired.


           SUBTOTAL:                                                                     [     18.80        7,238.00]

           Receivership Administration

   4/2/2018 BC    Receivership Administration                                                   5.80         348.00
                  Opened and organized mail for Chen entities                                  60.00/hr

   4/3/2018 HG    Receivership Administration                                                   3.60         288.00
                  Search property addresses and print out and organize statements for          80.00/hr
                  Steamfont.

           BC     Receivership Administration                                                   5.40         324.00
                  Organized bank statements and filed. Entered Invoices into creditor          60.00/hr
                  spreadsheet

   4/4/2018 BC    Receivership Administration                                                   3.50         210.00
                  Organized bank statements and filed. Entered Invoices into creditor          60.00/hr
                  spreadsheet

   4/5/2018 HG    Receivership Administration                                                   6.00         480.00
                  Print out the bank statements for Steamfont. Review the statements           80.00/hr
                  and enter the related information into Excel.

   4/9/2018 KW    Receivership Administration                                                   2.00         130.00
                  Filing and organizing records. Performed on 3/23/18.                         65.00/hr




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                                                                                               Hrs/Rate        Amount

   4/9/2018 KW   Receivership Administration                                                      1.10             71.50
                 Filing and organizing records. Performed on 3/26/18.                            65.00/hr

           KW    Receivership Administration                                                      1.00             65.00
                 Filing and organizing records. Performed on 3/27/18.                            65.00/hr

  4/10/2018 HG   Receivership Administration                                                      1.20             96.00
                 Get trained on claims by Alison.                                                80.00/hr

           BC    Receivership Administration                                                      0.80             48.00
                 Prepared checks to be mailed to Creditors                                       60.00/hr

           BC    Receivership Administration                                                      1.20             72.00
                 Met with Alison. Heidi and Kim to go over instructions for Chen Claims.         60.00/hr

  4/11/2018 KW   Receivership Administration                                                      0.50             32.50
                 Chen mailbox run.                                                               65.00/hr

  4/16/2018 BC   Receivership Administration                                                      0.20             12.00
                 Organized and filed check copies                                                60.00/hr

           KW    Receivership Administration                                                      7.00         455.00
                 Organizing paperwork and documents.                                             65.00/hr

  4/18/2018 KW   Receivership Administration                                                      6.60         429.00
                 Organizing Chen documents.                                                      65.00/hr

  4/20/2018 KW   Receivership Administration                                                      3.00         195.00
                 Sorting documents.                                                              65.00/hr

  4/23/2018 KW   Receivership Administration                                                      2.60         169.00
                 Organizing Chen documents/discovery.                                            65.00/hr

           KW    Receivership Administration                                                      1.10             71.50
                 Organizing Chen mail.                                                           65.00/hr

  4/25/2018 BC   Receivership Administration                                                      1.50             90.00
                 Set in on call with Epiq discussing claim form for USFIA Investors.             60.00/hr

           KW    Receivership Administration                                                      2.80         182.00
                 Reviewing documents and bank statements.                                        65.00/hr


           SUBTOTAL:                                                                       [     56.90        3,768.50]

           Sell Property/Liquidate Assets

   4/2/2018 TM   Sell Property/Liquidate Assets                                                   0.20             35.00
                 Discussion with Alison re need to cut back work on Saturday for                175.00/hr
                 auctioneer company. Discussed need to save some computers.




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                                                                                           Hrs/Rate        Amount

   4/3/2018 AJ   Sell Property/Liquidate Assets                                               0.20             42.00
                 Call with Mike Walters re computers and auction. Confer with Tom re        210.00/hr
                 same.

           AJ    Sell Property/Liquidate Assets                                               0.30             63.00
                 Confer with Tom re items in safe for auction. Receive and photo graph      210.00/hr
                 same. Email pictures of diamonds to Tom.

           AJ    Sell Property/Liquidate Assets                                               1.40         294.00
                 Travel time at 50% of time to and from Arcadia office.                     210.00/hr

           AJ    Sell Property/Liquidate Assets                                               4.60         966.00
                 Met auctioneer onsite. Reviewed auction issues and located                 210.00/hr
                 computers that are to be preserved.

   4/4/2018 TM   Sell Property/Liquidate Assets                                               0.10             17.50
                 Email to Walters re link to auction.                                       175.00/hr

   4/5/2018 AJ   Sell Property/Liquidate Assets                                               0.70         147.00
                 Review email from Tom re Chen real estate to take possession of.           210.00/hr
                 Review details of same with Tom. Review email from Tim to John
                 Premac requesting title reports. Respond to question re same.

           AJ    Sell Property/Liquidate Assets                                               1.60         336.00
                 Confer with Tom re auction. Confer with Tim re notice on website,          210.00/hr
                 check and confirm the date, etc. Look for and email info to Mike
                 Walter re valuation of jewelry, bags, etc. Review and print pictures of
                 bags, count, etc. Follow up on other assets that need to be included in
                 sale. Confer with Tom re guns, and auctioneers website. Review
                 pictures on site, etc.

           TM    Sell Property/Liquidate Assets                                               0.30             52.50
                 Call from Tom and email re properties to get updated title reports for     175.00/hr
                 and forwarded with comment to Premac for preliminary reports.
                 Emails to and from Chicago Title and Alison re same.

           TM    Sell Property/Liquidate Assets                                               0.20             35.00
                 Email and call to Walters re auction date. Received reply and told         175.00/hr
                 Tom re same. Checked auction site looking for link.

   4/6/2018 AJ   Sell Property/Liquidate Assets                                               1.40         294.00
                 Confer with Tim and Tom re server move and selling hard drives.            210.00/hr
                 Direction to Tim re to Mike Walter not to sell hard drives. Emails with
                 David re server move. Message to guard re same. Email to Dan re
                 computer info for auction. Work on updating the device inventory and
                 print copies.

           TM    Sell Property/Liquidate Assets                                               0.10             17.50
                 Call from Alison re hard drives and email to Walters re same.              175.00/hr




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                                                                                            Hrs/Rate        Amount

   4/9/2018 TM   Sell Property/Liquidate Assets                                                0.20             35.00
                 Emails to Walters re minor edits for auction page.                          175.00/hr

  4/10/2018 AJ   Sell Property/Liquidate Assets                                                0.10             21.00
                 Call with Dan re issues with wiping computers, etc.                         210.00/hr

  4/11/2018 AJ   Sell Property/Liquidate Assets                                                0.60         126.00
                 Review email from Auctioneer re listing link. Review items and confer       210.00/hr
                 with Tom re same.

           AJ    Sell Property/Liquidate Assets                                                1.10         231.00
                 Review and download prelim title reports. Confer with Tom re issues         210.00/hr
                 with Qun Yang property. Email to Tim Hsu re same. Review escrow
                 emails, etc. Confer with Tim re issue with the 2nd report.

           TM    Sell Property/Liquidate Assets                                                1.10         192.50
                 Received title report, stored, printed and reviewed. Updates to master      175.00/hr
                 tracking spreadsheet. Email to title compay re need for hyperlinks,
                 reply from same re same. Alison requests new report as one was
                 mis-labeled. Email to title company.

           TM    Sell Property/Liquidate Assets                                                0.10             17.50
                 Email to Walters re how auction will work. Received reply.                  175.00/hr

  4/12/2018 AJ   Sell Property/Liquidate Assets                                                0.30             63.00
                 Review prelim title reports and save to pub docs. Forward to Tim Hsu        210.00/hr
                 and request info on recording PI.

           TM    Sell Property/Liquidate Assets                                                0.10             17.50
                 Received new title reports and saved.                                       175.00/hr

  4/13/2018 AJ   Sell Property/Liquidate Assets                                                1.70         357.00
                 Review all auction listings. Messages with Dan and Joyce re machines        210.00/hr
                 that are in server room that might still have data. Update evidence list
                 and send picture to Dan. Confer with Tom re items for auction that
                 were requested back by vendor that was not paid for. Call and email
                 to Mike at Tranzon re same. Search for invoice and contact info for
                 vendor and send email re same.

           AJ    Sell Property/Liquidate Assets                                                0.10             21.00
                 Confer with Tim re question on computers. Advise that hard drives           210.00/hr
                 have been wiped.

           TM    Sell Property/Liquidate Assets                                                0.20             35.00
                 Checked out link to online catalog and reviewed laptops. Email to           175.00/hr
                 Alison re same.

  4/16/2018 AJ   Sell Property/Liquidate Assets                                                0.40             84.00
                 Emails with Tranzon re auction issues, lots pulled from online catalog,     210.00/hr
                 timing for preview, etc.




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                                                                                          Hrs/Rate        Amount

  4/17/2018 AJ   Sell Property/Liquidate Assets                                              0.20             42.00
                 Call with Tom re auction details. Email link to online lots.              210.00/hr

  4/18/2018 AJ   Sell Property/Liquidate Assets                                              6.50        1,365.00
                 Onsite for auction. Confer with auction staff, security, etc.             210.00/hr

           AJ    Sell Property/Liquidate Assets                                              0.20             42.00
                 Calls with Wali re items to be picked up by vendor, and to arrange for    210.00/hr
                 IT person to visit to wipe laptop.

           AJ    Sell Property/Liquidate Assets                                              0.30             63.00
                 Calls with Dan re found laptop that has not been imaged that needs to     210.00/hr
                 be reviewed and wiped. Additional calls to arrange time for same.

           TM    Sell Property/Liquidate Assets                                              0.70         122.50
                 Monitored auction of personal items. Call to auctioneer re deposit        175.00/hr
                 requirement.

  4/19/2018 AJ   Sell Property/Liquidate Assets                                              0.30             63.00
                 Calls with Dan re timing of arrival and access to building. Message to    210.00/hr
                 Mike at Tranzon re same. Follow up messages and calls with Dan re
                 scope of work, etc.

           AJ    Sell Property/Liquidate Assets                                              0.20             42.00
                 Call with Tom re auction results, etc.                                    210.00/hr

           TM    Sell Property/Liquidate Assets                                              1.80         315.00
                 Email from Tom re need to mark up listing agreement and make              175.00/hr
                 addendum for Live Oak listing. Made addendum and read through
                 listing agreement sent by broker. Made edits and printed, saved.
                 Email to title to update prelim, email to Shapiro re vesting. Emails
                 back and forth re same.

  4/20/2018 TM   Sell Property/Liquidate Assets                                              0.50             87.50
                 Prepared examples of past listing commissions for Tom's review.           175.00/hr
                 Searched records and made summary spreadsheet re similarly priced
                 properties.

           TM    Sell Property/Liquidate Assets                                              0.40             70.00
                 Email from title re prelim for Live Oak update. Emails to and from        175.00/hr
                 Shapiro, Premac re name for vesting.

           TM    Sell Property/Liquidate Assets                                              0.70         122.50
                 Analyzed items needed for sale of remaining properties re items on        175.00/hr
                 title, etc.

  4/23/2018 TM   Sell Property/Liquidate Assets                                              0.30             52.50
                 Gathered listing agreement with edits from Tom. Made scan and sent        175.00/hr
                 to broker for Live Oak. Question from Tom re appraised amount,
                 looked up and told him the number.




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                                                                                               Hrs/Rate        Amount

  4/23/2018 TM   Sell Property/Liquidate Assets                                                   0.20             35.00
                 Call from Walters re final items which were left unpaid for. Gave              175.00/hr
                 direction to put on follow-up auction to clear out.

  4/24/2018 TM   Sell Property/Liquidate Assets                                                   0.20             35.00
                 Received revised title report with new vesting of Live Oak in name of          175.00/hr
                 Receiver. Saved and printed, file with documents. Received fully
                 executed listing agreement for Live Oak, saved and printed.

           TM    Sell Property/Liquidate Assets                                                   0.10             17.50
                 Received email with executed listing agreement. Saved in pubdocs               175.00/hr
                 and printed. Email from broker.

  4/26/2018 TM   Sell Property/Liquidate Assets                                                   0.10             17.50
                 Sent title report to DuBrowa re Live Oak.                                      175.00/hr

  4/27/2018 TM   Sell Property/Liquidate Assets                                                   0.10             17.50
                 Call from Tom re location of report and directed him to correct folder.        175.00/hr

           TM    Sell Property/Liquidate Assets                                                   0.10             17.50
                 Email from broker re title report. Replied re correct report.                  175.00/hr

  4/30/2018 TM   Sell Property/Liquidate Assets                                                   0.20             35.00
                 Emails to title re preliminary report for Live Oak and sent emails to          175.00/hr
                 brokers.

           TM    Sell Property/Liquidate Assets                                                   0.10             17.50
                 Question from Alison re items left at Live Oak and explained some              175.00/hr
                 items to go in next auction as some buyers failed to pay on time.

           AJ    Sell Property/Liquidate Assets                                                   0.40             84.00
                 Confer with Tom and Tim re auction status. Email from Tom re wire              210.00/hr
                 instructions. Email to Mike Walter.


           SUBTOTAL:                                                                       [     30.70        6,163.50]

           Takeover Property

  4/23/2018 TM   Takeover Property                                                                1.70         297.50
                 Email from Tom re items to prepare for Tom for takeover of Steamfont           175.00/hr
                 properties.

  4/24/2018 TM   Takeover Property                                                                2.00         350.00
                 Email to Zaro re addressee for Lot 14 and other properties re notice.          175.00/hr
                 Received call from Zaro and discussed. Made labels and certified
                 mailing preparation. Gathered wire transfer info from Alison and
                 added to documents.

           AJ    Takeover Property                                                                0.70         147.00
                 Confer with Tim re properties to take over. Review email to get details        210.00/hr
                 on information needed. Review files and print info showing the proof of
                 purchase of the properties by the entities. Provide to Tim and discuss




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                                                                                            Hrs/Rate        Amount

                 same.

  4/25/2018 TM   Takeover Property                                                             0.50             87.50
                 Discussed with Tom the schedule to take over the Steamfont                  175.00/hr
                 properties. Call from Tom with direction re sign, fence and property
                 taxes. Discussed with Matthew if property taxes were paid and they
                 were for Utica property.


           SUBTOTAL:                                                                    [      4.90         882.00]

           For professional services rendered                                                508.50      $64,128.50


           Balance due                                                                                   $64,128.50




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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Chen




August 14, 2018


Invoice #11201



           Professional Services

                                                                                         Hrs/Rate        Amount

           Accounting & Reporting

  5/4/2018 MRF Accounting & Reporting                                                       2.20         198.00
               Reviewed vendor invoices and processed accounts payable. Met                90.00/hr
               with Thomas Seaman re approval of same and gave instructions to
               Bonnie Carver re sending payments.

  5/7/2018 AJ     Accounting & Reporting                                                    0.30          63.00
                  Received and reviewed bank statement. Searched for account              210.00/hr
                  agreement. Email to Jill re large bank service fee. Review email
                  from Jill. Call with Runa at Union Bank, and make note that fee will
                  be reversed and account coding will be corrected.

           TM     Accounting & Reporting                                                    1.50    NO CHARGE
                  Email from Fates and call from Tom re starting fee app. Made initial    175.00/hr
                  template and initial spreadsheet.

 5/12/2018 TM     Accounting & Reporting                                                    1.00    NO CHARGE
                  Made initial spreadsheet for upcoming fee app and email to Tom re       175.00/hr
                  same. Updates to template. Downloaded several reports.

 5/13/2018 TM     Accounting & Reporting                                                    1.80    NO CHARGE
                  Checked timeslips for Chen fee app. Email to Wolfe re same.             175.00/hr

 5/14/2018 AJ     Accounting & Reporting                                                    0.10          21.00
                  Review email from Union Bank confirming reversal of bank fee.           210.00/hr

           TM     Accounting & Reporting                                                    0.30    NO CHARGE
                  Email from Wolfe re timeslips. Adjusted totals, ran reports. Checked    175.00/hr
                  timeslips.




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                                                                                             Hrs/Rate           Amount


  5/18/2018 MRF Accounting & Reporting                                                          0.30              27.00
                Processed wire re Cloverly warehouse rent.                                     90.00/hr

  5/22/2018 AJ    Accounting & Reporting                                                        0.70            147.00
                  Reconcile account and prepare financials for Tom.                           210.00/hr

  5/24/2018 TM    Accounting & Reporting                                                        1.00    NO CHARGE
                  Checked timeslips. Made edits for clarification and punctuation. Ran        175.00/hr
                  new timeslip reports and input timeslip data onto fee app
                  spreadsheet.

  5/25/2018 TM    Accounting & Reporting                                                        1.00    NO CHARGE
                  Entered timeslip and SFAR info into narrative of fee app.                   175.00/hr

  5/29/2018 AJ    Accounting & Reporting                                                        0.10              21.00
                  Message from Tom re Quickbooks access. Log in and review.                   210.00/hr
                  Communicate back.

            TM    Accounting & Reporting                                                        0.40    NO CHARGE
                  Entered timeslip and SFAR info into narrative of fee app.                   175.00/hr

            AJ    Accounting & Reporting                                                        0.20              42.00
                  Revise exhibit and resend to all.                                           210.00/hr

  5/30/2018 AJ    Accounting & Reporting                                                        0.30              63.00
                  Call with Tom re exhibits for report. Prepare report exhibits and           210.00/hr
                  email to Ted.

            TM    Accounting & Reporting                                                        1.00    NO CHARGE
                  Entered timeslip and SFAR info into narrative of fee app.                   175.00/hr

  5/31/2018 MRF Accounting & Reporting                                                          3.20            288.00
                Reviewed vendor invoices and processed accounts payable. Met                   90.00/hr
                with Thomas Seaman re approval of payments.


            SUBTOTAL:                                                                    [     15.40            870.00]

            Forensic Accounting

  5/10/2018 TM    Forensic Accounting                                                           0.10              17.50
                  Received confirmations of package deliveries and filed with                 175.00/hr
                  document copies.

  5/12/2018 TM    Forensic Accounting                                                           1.00            175.00
                  Made request to Chase for bank records.                                     175.00/hr

  5/14/2018 TM    Forensic Accounting                                                           2.00            350.00
                  Made bank requests for records. Delivered in person and sent by             175.00/hr
                  UPS and fax.




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                                                                                             Hrs/Rate           Amount


  5/15/2018 TM   Forensic Accounting                                                            0.10              17.50
                 Discussed if any other bank records are needed with Heidi.                   175.00/hr

           TM    Forensic Accounting                                                            0.20              35.00
                 Discussed if any other bank records are needed with Heidi.                   175.00/hr

  5/18/2018 HG   Forensic Accounting                                                            0.90              72.00
                 Update Cash-vs-turnover sheet and email it .                                  80.00/hr

  5/21/2018 TM   Forensic Accounting                                                            0.10              17.50
                 Direction from Alison to follow up with bank re some items received          175.00/hr
                 from Bank of America.

           AJ    Forensic Accounting                                                            2.20            462.00
                 Review accounts with missing info and follow up with Tim and Heidi           210.00/hr
                 re bank requests, etc. Research transactions, etc.

  5/22/2018 TM   Forensic Accounting                                                            0.10              17.50
                 Made scan of documentation from BofA and gave to Heidi.                      175.00/hr

  5/24/2018 AJ   Forensic Accounting                                                            0.70            147.00
                 Review list of records still needed to complete accounting. Review           210.00/hr
                 unidentified transactions, research, etc.

  5/25/2018 HG   Forensic Accounting                                                            1.60            128.00
                 Locate credit card files and review the data in Quickbooks.                   80.00/hr


           SUBTOTAL:                                                                     [      9.00          1,439.00]

           Investor Relations

   5/1/2018 AJ   Investor Relations                                                             3.70            777.00
                 Review emails and correspondence from claimants. Confer with                 210.00/hr
                 Bonnie re same. Discuss paper claim form, and need for Chinese
                 version. Emails with Epic re claims portal, meeting next week, etc.

           BC    Investor Relations                                                             3.50            210.00
                 Responded to Investor emails and phone calls.                                 60.00/hr

           TM    Investor Relations                                                             0.20              35.00
                 Request from Alison to change FAQ's. Made change in both                     175.00/hr
                 English and Chinese. Checked links and reported completed.

   5/2/2018 BC   Investor Relations                                                             3.20            192.00
                 Responded to email and calls from investors.                                  60.00/hr

           AJ    Investor Relations                                                             2.40            504.00
                 Emails with Epiq with questions on claims portal, etc. Email to David        210.00/hr
                 and Tom re status. Confer with Bonnie re inquiries received, etc.
                 Calls and emails with investors. Work on finalizing paper claim




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                                                                                       Hrs/Rate        Amount

                 form.

   5/3/2018 BC   Investor Relations                                                       3.10         186.00
                 Responded to emails and phone calls from Investors                      60.00/hr

           AJ    Investor Relations                                                       2.10         441.00
                 Review emails and correspondence from investors, calls and             210.00/hr
                 emails re same. Work with Bonnie on responses, etc.

           KW    Investor Relations                                                       2.30         149.50
                 Returning Chen emails.                                                  65.00/hr

   5/4/2018 AJ   Investor Relations                                                       2.10         441.00
                 Review emails and correspondence from investors and creditors.         210.00/hr
                 Review claims questions and confer with Bonnie re same. Give
                 direction to Bonnie, etc.

           BC    Investor Relations                                                       2.10         126.00
                 Responded to emails and phone calls from Investors.                     60.00/hr

   5/7/2018 AJ   Investor Relations                                                       1.50         315.00
                 Review emails and correspondence from investors and claimants.         210.00/hr
                 Review claims received and give Bonnie direction re same. Review
                 draft of Chinese form again and make updates save to discuss with
                 Heidi.

           BC    Investor Relations                                                       2.30         138.00
                 Responded to emails regarding claims process. Scanned Claim             60.00/hr
                 forms and filed.

   5/8/2018 HG   Investor Relations                                                       0.40             32.00
                 talk to the walk-in investor regarding to claims.                       80.00/hr

           AJ    Investor Relations                                                       1.50         315.00
                 Conference call/ meeting with Epic re claims importing, setting up     210.00/hr
                 fields, issues with entries, etc.

           AJ    Investor Relations                                                       0.70         147.00
                 Review messages and correspondence. Review claims data from            210.00/hr
                 sample export.

           AJ    Investor Relations                                                       0.20             42.00
                 Emails with David Jimenez re Epiq export and data available.           210.00/hr

           AJ    Investor Relations                                                       0.40             84.00
                 Meet with investor rep re claims questions, etc for a number of        210.00/hr
                 Chinese investors. Provide a paper claim form. Confer with Heidi re
                 same.




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                                                                                       Hrs/Rate        Amount

   5/8/2018 AJ   Investor Relations                                                       0.20             42.00
                 Email to David and Tom with update on claims and status for DOJ.       210.00/hr

           BC    Investor Relations                                                       2.00         120.00
                 Responded to emails from investors.                                     60.00/hr

   5/9/2018 AJ   Investor Relations                                                       1.10         231.00
                 Review messages and correspondence from claimants, calls and           210.00/hr
                 responses re log in issues, claim form questions, etc.

  5/10/2018 AJ   Investor Relations                                                       0.80         168.00
                 Review messages and correspondence from claimants re issues            210.00/hr
                 with access, etc. Advise re documentation needed, etc.

           TM    Investor Relations                                                       0.20             35.00
                 Downloaded PACER documents into pubdocs.                               175.00/hr

  5/14/2018 BC   Investor Relations                                                       3.50         210.00
                 Responded to emails regarding claims.                                   60.00/hr

  5/15/2018 BC   Investor Relations                                                       2.20         132.00
                 Responded to emails and phone calls from Investors.                     60.00/hr

           BC    Investor Relations                                                       1.00             60.00
                 Set in on call with Epiq discussing claim form for USFIA Investors.     60.00/hr

           AJ    Investor Relations                                                       0.70         147.00
                 Review messages and correspondence from claimants. Confer with         210.00/hr
                 Bonnie re same. Answer questions and discuss Chinese form,
                 translate messages, etc.

           AJ    Investor Relations                                                       0.90         189.00
                 Call with Epiq to review revisions to TCMS and other claims            210.00/hr
                 importing issues.

           AJ    Investor Relations                                                       0.60         126.00
                 Confer with Bonnie re emails with issues using security feature.       210.00/hr
                 Review same and send to Epiq.

  5/16/2018 BC   Investor Relations                                                       2.80         168.00
                 Responded to email from investors.                                      60.00/hr

           AJ    Investor Relations                                                       1.70         357.00
                 Confer with Bonnie and give instruction re investors with trouble      210.00/hr
                 registering for claim portal website. Review emails re same. Review
                 emails from Epiq regarding claimants registered successfully and
                 respond. Calls with claimants and their agents about process, and
                 claim forms, etc.




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                                                                                         Hrs/Rate        Amount

  5/17/2018 BC   Investor Relations                                                         1.00             60.00
                 Responded to emails from Investors.                                       60.00/hr

           AJ    Investor Relations                                                         0.30             63.00
                 Review messages from Epiq re status of web portal fix, etc.              210.00/hr

  5/18/2018 BC   Investor Relations                                                         0.30             18.00
                 Responded to emails from Investors.                                       60.00/hr

           KW    Investor Relations                                                         3.20         208.00
                 Scanning in the box of physical Claim Forms.                              65.00/hr

           AJ    Investor Relations                                                         1.70         357.00
                 Review messages and correspondence. Review and research                  210.00/hr
                 claimant issues and help resolve. Met with investor and provided
                 paper forms. Confer with Bonnie re same.

  5/21/2018 BC   Investor Relations                                                         3.50         210.00
                 Responded to emails from Investors. Scanned Investor claims into          60.00/hr
                 system.

           AJ    Investor Relations                                                         1.70         357.00
                 Review emails and messages re claims filing issues. Confer with          210.00/hr
                 Bonnie re same. Emails to from epic re same. Calls with investors
                 and their reps for assistance.

           KW    Investor Relations                                                         2.10         136.50
                 Scanning in the box of physical Claim Forms.                              65.00/hr

  5/22/2018 AJ   Investor Relations                                                         0.10             21.00
                 Review email from Lori re claims issues and meeting on Thursday.         210.00/hr

           AJ    Investor Relations                                                         0.10             21.00
                 Review claim for received and leave for Bonnie to enter.                 210.00/hr

           BC    Investor Relations                                                         2.10         126.00
                 Responded to emails from Investors. Scanned Investor claims into          60.00/hr
                 system.

           AJ    Investor Relations                                                         2.80         588.00
                 Review messages and correspondence from creditors, and                   210.00/hr
                 investors. Confer with Bonnie re emails, etc. Emails and calls with
                 Epiq re solutions to web portal. Claims ready for TCMS, etc.

  5/23/2018 BC   Investor Relations                                                         1.50             90.00
                 Responded to emails from Investors.                                       60.00/hr

           AJ    Investor Relations                                                         2.70         567.00
                 Emails, call, correspondence re claims filing, issues, questions etc.    210.00/hr
                 Confer with Bonnie re same.




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                                                                                      Hrs/Rate        Amount

  5/24/2018 KW   Investor Relations                                                      4.00         260.00
                 Scanning in the box of physical Claim Forms.                           65.00/hr

           AJ    Investor Relations                                                      1.10         231.00
                 Review emails and messages from investors and claimants.              210.00/hr
                 Research issues and respond. Direct Bonnie re same.

  5/25/2018 BC   Investor Relations                                                      2.80         168.00
                 Responded to emails from Investors. Scanned claims into file.          60.00/hr

           KW    Investor Relations                                                      3.20         208.00
                 Scanning in the box of physical Claim Forms.                           65.00/hr

           AJ    Investor Relations                                                      0.60         126.00
                 Call with Lori, Cheryl and Bonnie on claims issues, portal update,    210.00/hr
                 etc.

           AJ    Investor Relations                                                      0.60         126.00
                 Send emails from investors to Cheryl that need extra assistance       210.00/hr
                 getting registered on claims portal.

           AJ    Investor Relations                                                      0.90         189.00
                 Review and respond to investors regarding claims questions, etc.      210.00/hr

  5/29/2018 BC   Investor Relations                                                      3.50         210.00
                 Responded to emails from Investors. Created Worksheet for              60.00/hr
                 Creditor Claimants.

           TM    Investor Relations                                                      0.30             52.50
                 Request from Tom to make minor clarifying change to website and       175.00/hr
                 did so re Claims Bar Date. Made backup.

           KW    Investor Relations                                                      2.60         169.00
                 Scanning in the box of physical Claim Forms.                           65.00/hr

           AJ    Investor Relations                                                      3.20         672.00
                 Review messages and correspondence from investors, and                210.00/hr
                 creditors. Confer with Bonnie re same. Emails to Lori, Cheryl and
                 Roger at Epiq re portal issues, setting up TCMS, registration
                 problems, etc.

  5/30/2018 AJ   Investor Relations                                                      1.20         252.00
                 Review emails and correspondence.                                     210.00/hr

           AJ    Investor Relations                                                      0.40             84.00
                 Meet with Tom re status on claims and possibly extending the bar      210.00/hr
                 date.

           AJ    Investor Relations                                                      0.80         168.00
                 Review email from Cheryl regarding request for email delivery         210.00/hr
                 metrics, click, open, bounce, etc, Call with Tim re same for email




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                                                                                             Hrs/Rate           Amount

                 blast that we sent. Received and reviewed report data.

  5/30/2018 AJ   Investor Relations                                                             0.70            147.00
                 Call with Roger re install and training on the Epiq claims system.           210.00/hr
                 Set meeting for tomorrow. Email list of additional users. Review
                 meeting request. Email to staff re time of meeting.

           BC    Investor Relations                                                             2.50            150.00
                 Responded to emails from Investors.                                           60.00/hr

           TM    Investor Relations                                                             0.20              35.00
                 Call from Alison re need for click-through and open analytics from           175.00/hr
                 recent email to potential investors. Ran reports and printed for her.

           KW    Investor Relations                                                             2.30            149.50
                 Scanning in the box of physical Claim Forms.                                  65.00/hr

  5/31/2018 TM   Investor Relations                                                             0.10              17.50
                 Met with Gemcoin investor and got Alison to bring claim form.                175.00/hr

           AJ    Investor Relations                                                             0.30              63.00
                 Meet with investor, review log in issues. Print off and provide claim        210.00/hr
                 form.

           AJ    Investor Relations                                                             1.10            231.00
                 Set up for web meeting. Emails to Bonnie and Kim re access                   210.00/hr
                 credentials. Conference call and web meeting with Epiq for training
                 on claims system.

           AJ    Investor Relations                                                             3.30            693.00
                 Call with Roger and install claims software. Confer with Heidi and           210.00/hr
                 Kim re same. Log in and review claims records. Research various
                 claims in Quickbooks. Confer with Tom re same. Discuss additional
                 options for increasing claims submissions. Direct Bonnie and Heidi
                 re paper claims in Chinese review before posting to website.

           BC    Investor Relations                                                             1.10              66.00
                 Responded to emails from Investors. Scanned Investor claims into              60.00/hr
                 system.

           HG    Investor Relations                                                             2.70            216.00
                 Get trained by Epiq. Meet the investor. Assist Roger Fetters with             80.00/hr
                 installing claim program in the computer. Review the Claim Form in
                 Chinese.

           KW    Investor Relations                                                             1.10              71.50
                 Meeting for the claims software.                                              65.00/hr


           SUBTOTAL:                                                                     [    113.10         13,697.00]




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                                                                                             Hrs/Rate           Amount

           Project Management

   5/1/2018 AJ   Project Management                                                             0.20              42.00
                 Review DOJ subpoena, and prepare and draft email to David and                210.00/hr
                 Tom. Email to Epiq to get info to complete email.

           TM    Project Management                                                             0.10              17.50
                 Received noctices of completed address change.                               175.00/hr

  5/11/2018 AJ   Project Management                                                             0.70            147.00
                 Call with Ted re Zhao, claims notice, case status and other potential        210.00/hr
                 actions against insiders.

  5/18/2018 AJ   Project Management                                                             0.40              84.00
                 Review email from DOJ with request for updated information on                210.00/hr
                 banks and entities. Review reports. Call to Heidi re status of bank
                 matrix. Give direction to update.

           AJ    Project Management                                                             0.20              42.00
                 Review report from Heidi and discuss same. Provide additional                210.00/hr
                 direction re bank matrix to update, etc.

  5/22/2018 AJ   Project Management                                                             0.10              21.00
                 Confer with Heidi re update to master bank account list. Give                210.00/hr
                 direction re same.

  5/23/2018 AJ   Project Management                                                             0.20              42.00
                 Review email from Richard requesting update on reports requested.            210.00/hr
                 Follow up with Heidi re status of same.

           AJ    Project Management                                                             0.70            147.00
                 Review updated bank matrix and the entities reports. Prepare for             210.00/hr
                 sending to DOJ and save in appropriate folder. Prepare and email
                 requested reports to Richard.

  5/25/2018 AJ   Project Management                                                             0.20              42.00
                 Review emails from Ted and Tom, and voice mail from Ted                      210.00/hr
                 regarding bank records.

           AJ    Project Management                                                             0.80            168.00
                 Research NBCAL records and send email to Tom and Ted re same.                210.00/hr

  5/30/2018 DC   Project Management                                                             0.30              51.00
                 Received draft copy of 11th report. Printed for receiver's review.           170.00/hr
                 Obtained signature, scanned and sent back to counsel. Obtained
                 signature, scanned and sent back to counsel for filing.

  5/31/2018 AJ   Project Management                                                             0.20              42.00
                 Calls and emails with Dan re issues with Claims software download.           210.00/hr


           SUBTOTAL:                                                                     [      4.10            845.50]




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Thomas Seaman, Receiver for Chen                                                                     Page     10

                                                                                        Hrs/Rate        Amount

           Property Management

   5/2/2018 TM   Property Management                                                       0.10             17.50
                 Received invoice for pool service at Deodar and approved.               175.00/hr

   5/3/2018 TM   Property Management                                                       0.50             87.50
                 Calls to window repairs re Live Oak. Ordered bids.                      175.00/hr

           TM    Property Management                                                       0.50             87.50
                 Call to Wali re items to remove from Cloverly. Email from Cloverly      175.00/hr
                 owner re payment. Drafted email re time to get out and payment.
                 Call to Tom re same.

   5/4/2018 TM   Property Management                                                       0.20             35.00
                 Call to window replacement company re need to approach building         175.00/hr
                 from the backside. Calls to Raofi re any bids for drywall.

           TM    Property Management                                                       0.10             17.50
                 Email from Tom and replied re Cloverly and need for rent payment.       175.00/hr

           TM    Property Management                                                       0.20             35.00
                 Talked with Matthew re payment to landlord of Cloverly, email to        175.00/hr
                 landlord re need for ACH info.

   5/5/2018 TM   Property Management                                                       0.20             35.00
                 Email from landlord re ACH info and notice about racks. Email to        175.00/hr
                 Walters and received reply.

           TM    Property Management                                                       0.20             35.00
                 Received formal bid for repair work and sent authorization.             175.00/hr

   5/6/2018 TM   Property Management                                                       0.20             35.00
                 Email from Tom re landlord letter re Cloverly. Reviewed previous        175.00/hr
                 emails and replied.

   5/7/2018 TM   Property Management                                                       0.30             52.50
                 Looked up lease info re dispute re Cloverly racks. Informed Tom of      175.00/hr
                 no language in the lease regarding same. Discussed with Matthew
                 and Tom re amount to pay. Email to Walters re items out of
                 warehouse.

  5/10/2018 TM   Property Management                                                       0.10             17.50
                 Text to Raofi re drywall bids.                                          175.00/hr

           TM    Property Management                                                       0.20             35.00
                 Calls to drywall repair companies, etc. re repair needs re Live Oak.    175.00/hr

  5/11/2018 TM   Property Management                                                       0.10             17.50
                 Text to Raofi re Cloverly trash to remove.                              175.00/hr

           TM    Property Management                                                       0.20             35.00
                 Email from Cloverly landlord, email to Matt re rent. Received reply     175.00/hr
                 from Matt re bad account number. Email to landlord re same.




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Thomas Seaman, Receiver for Chen                                                                    Page     11

                                                                                       Hrs/Rate        Amount


  5/11/2018 TM   Property Management                                                      1.50         262.50
                 Calls to contractors re drywall.                                       175.00/hr

  5/14/2018 TM   Property Management                                                      0.50             87.50
                 Call from contractor to arrange viewing for bid of drywall. Call to    175.00/hr
                 Raofi re same.

           TM    Property Management                                                      0.20             35.00
                 Call with Raofi re junk at Cloverly. Call to Got-Junk to arrange       175.00/hr
                 tomorrow pickup. Confirmed with Raofi.

  5/15/2018 TM   Property Management                                                      0.20             35.00
                 Calls from Raofi and Got-Junk re Cloverly. Arranged for payment of     175.00/hr
                 removal of materials. Call to Raofi re broom sweeping of
                 warehouse. Discussed payment to be made for rent with Matthew.

           TM    Property Management                                                      0.10             17.50
                 Text to contractor re need for written bid.                            175.00/hr

  5/16/2018 TM   Property Management                                                      0.30             52.50
                 Calls to Raofi and contractor re items to fix at Live Oak.             175.00/hr

           TM    Property Management                                                      0.30             52.50
                 Call from Raofi and made arrangements for final pick-up at             175.00/hr
                 Cloverly. Call to Raofi to confirm.

  5/17/2018 TM   Property Management                                                      0.10             17.50
                 Call from Got-Junk for payment and arranged re Cloverly.               175.00/hr

  5/18/2018 TM   Property Management                                                      0.10             17.50
                 Call from Raofi re Best Buy trying to deliver appliances. Asked him    175.00/hr
                 to refuse.

           TM    Property Management                                                      0.20             35.00
                 Calculated rent due to Cloverly warehouse and asked Matthew to         175.00/hr
                 send.

           TM    Property Management                                                      0.10             17.50
                 Approved starter payment for window replacement.                       175.00/hr

           TM    Property Management                                                      0.20             35.00
                 Email from Rancho Cucamonga HOA and call to Rancho                     175.00/hr
                 Cucamonga re fencing to put up. No one answered. Entered
                 contact info and checked city website.

           TM    Property Management                                                      0.20             35.00
                 Searched for painter for Live Oak.                                     175.00/hr

  5/21/2018 TM   Property Management                                                      0.20             35.00
                 Gathered check and made cover letter for starter payment. Sent in      175.00/hr
                 mail to Glass repairman.




                                                                                              Exhibit A, Page 48
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Thomas Seaman, Receiver for Chen                                                                      Page     12

                                                                                         Hrs/Rate        Amount


  5/21/2018 TM   Property Management                                                        0.80         140.00
                 Changed rent amount, got new check. Email to landlord and his            175.00/hr
                 broker turning over possession. Explained loss of racks, rent
                 amount paid, etc. Call to broker and arranged time. Text to Raofi re
                 need for key.

           TM    Property Management                                                        0.20             35.00
                 Call to Rancho Cucamonga planning department re temporary                175.00/hr
                 fencing. Directed to planning department and left a message after
                 explaining our needs.

           TM    Property Management                                                        0.20             35.00
                 Direction from Tom re what to request of landlord at Santa Ana           175.00/hr
                 storage re security deposit.

  5/22/2018 TM   Property Management                                                        0.20             35.00
                 Call from agent for owner of Cloverly changing time for                  175.00/hr
                 appointment. Call to Raofi re keys and discussed final items to
                 remove at Live Oak.

           TM    Property Management                                                        1.20         210.00
                 Travel to Arcadia and Temple City; at half pay.                          175.00/hr

           TM    Property Management                                                        0.10             17.50
                 Call to security re closing account, possible need to transport some     175.00/hr
                 items to storage.

           TM    Property Management                                                        0.40             70.00
                 Delivered final rent check and turned over keys to landlord's agent      175.00/hr
                 for Cloverly.

           TM    Property Management                                                        0.60         105.00
                 Inspected Live Oak and found roof leak. Took pictures of items left      175.00/hr
                 at property, need for landscaping, clean up, etc.

  5/23/2018 TM   Property Management                                                        2.80         490.00
                 Filled out property info sheet for HOA at Tennis Center. Calls to and    175.00/hr
                 from temporary fencing companies, Rancho Cucamonga Planning
                 Dept. and LM. Received call back and second call after asking for
                 ruling. Took notes that no fencing allowed without permits.

           TM    Property Management                                                        0.40             70.00
                 Call from Landfried re additional needs at Live Oak re security. Text    175.00/hr
                 to Raofi re same.

  5/24/2018 TM   Property Management                                                        0.40             70.00
                 Reviewed needed vendors for cleanup of Live Oak.                         175.00/hr




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Thomas Seaman, Receiver for Chen                                                                             Page      13

                                                                                               Hrs/Rate           Amount

  5/25/2018 TM    Property Management                                                             0.20              35.00
                  Approved invoices for security services.                                      175.00/hr

           TM     Property Management                                                             0.20              35.00
                  Received invoice re window replacement, call to vendor re need to             175.00/hr
                  bill for additional work. Received corrected invoice after
                  confirmation work is done. Approved invoice.

  5/28/2018 TM    Property Management                                                             0.50              87.50
                  Texts to Raofi. Call and text to Landfried re getting someone to visit        175.00/hr
                  property and let roofer in for inspection. Arranged. Calls to and from
                  roofer and Landfried re leak in immigration office area and set up
                  addition visit of roofer to inspect.

  5/29/2018 TM    Property Management                                                             0.10              17.50
                  Calls to and from roofer and Landfriend re start time.                        175.00/hr

           TM     Property Management                                                             0.10              17.50
                  Discussed what is needed to assert authority re Lot 14 with Tom.              175.00/hr
                  Decided to notify tax authority.

           TM     Property Management                                                             0.10              17.50
                  Received invoice for landscaping work at Lot 14. Email to                     175.00/hr
                  management of HOA to see if work performed.

  5/30/2018 TM    Property Management                                                             1.30            227.50
                  Travel time to Live Oak and back; at half pay.                                175.00/hr

           TM     Property Management                                                             1.00            175.00
                  Met with roof inspector and reviewed areas of concern. Discussed              175.00/hr
                  previous work done on site, water damage, inspected all of the
                  second floor to determine any other areas of concern.

           TM     Property Management                                                             0.10              17.50
                  Received reply from HOA re landscape work at Lot 14. Replied re               175.00/hr
                  same.

  5/31/2018 TM    Property Management                                                             0.10              17.50
                  Discussion with Matthew re payments made for landscaping at Live              175.00/hr
                  Oak, and other payments.


           SUBTOTAL:                                                                       [     18.30          3,202.50]

           Receiver

   5/2/2018 TAS   Receiver                                                                        0.60            231.00
                  Confer re disposal of remaining property.                                     385.00/hr

           TAS    Receiver                                                                        0.60            231.00
                  Telephone call with David Zaro re claims process and analysis,                385.00/hr
                  Epiq portal, subpoena re claims filed.




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Thomas Seaman, Receiver for Chen                                                                     Page     14

                                                                                        Hrs/Rate        Amount


   5/4/2018 TAS   Receiver                                                                 0.40         154.00
                  Review and sign checks for bills, review cash position.                385.00/hr

   5/7/2018 TAS   Receiver                                                                 0.30         115.50
                  Telephone call with David Zaro re accounting and report.               385.00/hr

           TAS    Receiver                                                                 0.80         308.00
                  Confer with accounting re double payment of taxes by someone           385.00/hr
                  else, Telephone call with David Zaro re Utica property and adverse
                  possession arguments, need to demonstrate ownership, steps re
                  same, direct Tim and Howard re sign, fence, property taxes.

           TAS    Receiver                                                                 0.30         115.50
                  Telephone call with David Zaro re claims issues, metrics from Epiq,    385.00/hr
                  efforts to provide wider notice.

   5/8/2018 TAS   Receiver                                                                 0.20             77.00
                  Confer with Tim re landlord disputing sale of shelves, landlord's      385.00/hr
                  conflicting position.

  5/15/2018 TAS   Receiver                                                                 0.10             38.50
                  Telephone call with David Zaro re Utica follow up, tasks completed.    385.00/hr

  5/16/2018 TAS   Receiver                                                                 0.30         115.50
                  Telephone call with David Zaro re claims noticing issues and           385.00/hr
                  strategy re determining claims.

  5/17/2018 TAS   Receiver                                                                 0.40         154.00
                  Telephone call with Ted Fates re Li Zhao claims and strategy for       385.00/hr
                  disposition.

  5/18/2018 TAS   Receiver                                                                 1.10         423.50
                  Receive offer on Deodar, Telephone call with Wendy Kaye re same,       385.00/hr
                  develop counter offer, direct re same, direct Tim re counter offer
                  document and addendum, overbid terms, etc, execute same.

  5/21/2018 TAS   Receiver                                                                 0.10             38.50
                  Telephone call with David Zaro re AUSA request.                        385.00/hr

  5/22/2018 TAS   Receiver                                                                 0.50         192.50
                  Review accepted offer, Telephone call with Wendy re same,              385.00/hr
                  execute contract.

           TAS    Receiver                                                                 0.20             77.00
                  Telephone call with David Zaro re report.                              385.00/hr

           TAS    Receiver                                                                 0.40         154.00
                  Telephone call with David Zaro re Li Zhao funds in deposit box,        385.00/hr
                  other.




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Thomas Seaman, Receiver for Chen                                                                         Page      15

                                                                                           Hrs/Rate           Amount

  5/24/2018 TAS   Receiver                                                                    0.60            231.00
                  Prepare SFAR for quarter ending 03/31/2018, calculate inception to        385.00/hr
                  date receipts and disbursements, reconcile to cash.

  5/28/2018 TAS   Receiver                                                                    0.50            192.50
                  Request proposal for Utica from Hamlin Gooding, give background           385.00/hr
                  and provide information re same.

  5/29/2018 TAS   Receiver                                                                    0.20              77.00
                  Telephone call with David Zaro re claims status and progress.             385.00/hr

  5/30/2018 TAS   Receiver                                                                    0.60            231.00
                  Confer with re Alison re status of claims and issues with filing          385.00/hr
                  claims, Telephone call with David Zaro re same and how to cast a
                  wider net.

           TAS    Receiver                                                                    0.30            115.50
                  Review Ted's comments to report and confer re same.                       385.00/hr

           TAS    Receiver                                                                    0.30            115.50
                  Telephone call with David Zaro re questions on accounting, cash           385.00/hr
                  vs. accrual, SFAR v. Quickbooks reports, other.

           TAS    Receiver                                                                    0.40            154.00
                  Telephone call with David Zaro re claims strategy, approaching            385.00/hr
                  leaders, wider net to capture claims.


           SUBTOTAL:                                                                   [      9.20          3,542.00]

           Receivership Administration

   5/1/2018 BC    Receivership Administration                                                 0.50              30.00
                  Drove to claims mailbox to retrieve mail.                                  60.00/hr

   5/2/2018 BC    Receivership Administration                                                 1.50              90.00
                  Researched CP bank statements for backup regarding Phg.                    60.00/hr

   5/3/2018 BC    Receivership Administration                                                 0.50              30.00
                  Researched CP bank statements for Phg Inc.                                 60.00/hr

   5/4/2018 KW    Receivership Administration                                                 2.20            143.00
                  Organizing documents/discovery.                                            65.00/hr

   5/7/2018 BC    Receivership Administration                                                 1.00              60.00
                  Prepared checks to be mailed to creditors.                                 60.00/hr

   5/8/2018 BC    Receivership Administration                                                 1.50              90.00
                  prepared checks to be mailed to creditors.                                 60.00/hr

  5/17/2018 KW    Receivership Administration                                                 0.50              32.50
                  Checking Chen PO Box, took longer because a large box with 170+            65.00/hr
                  claims arrived.




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                                                                                            Hrs/Rate           Amount


  5/21/2018 HG   Receivership Administration                                                   2.40            192.00
                 Update Bank Account Matrix list.                                             80.00/hr

           BC    Receivership Administration                                                   1.50              90.00
                 Prepared checks to be mailed to vendors.                                     60.00/hr

  5/22/2018 HG   Receivership Administration                                                   9.10            728.00
                 Update Bank Account Matrix list.                                             80.00/hr

  5/23/2018 HG   Receivership Administration                                                   2.60            208.00
                 Update Bank Account Matrix list.                                             80.00/hr

  5/24/2018 KW   Receivership Administration                                                   0.50              32.50
                 Check Chen PO Box.                                                           65.00/hr

  5/29/2018 KW   Receivership Administration                                                   0.50              32.50
                 Check Chen PO Box.                                                           65.00/hr

  5/30/2018 KW   Receivership Administration                                                   0.50              32.50
                 PO Box check.                                                                65.00/hr

  5/31/2018 BC   Receivership Administration                                                   1.20              72.00
                 Set in on call with Epiq claim training session for USFIA Investors.         60.00/hr

           KW    Receivership Administration                                                   0.50              32.50
                 PO Box check.                                                                65.00/hr


           SUBTOTAL:                                                                    [     26.50          1,895.50]

           Sell Property/Liquidate Assets

   5/1/2018 TM   Sell Property/Liquidate Assets                                                1.20            210.00
                 Call from broker re items to fix at Live Oak. Emails from same.             175.00/hr
                 Checked title report and made pdfs of documents to send to broker
                 and to our attorney. Got email with pdf of probable PSA for Tom's
                 review and saved and printed.

   5/2/2018 AJ   Sell Property/Liquidate Assets                                                0.60            126.00
                 Confer with Tom and Tim re auction items.                                   210.00/hr

           AJ    Sell Property/Liquidate Assets                                                0.40              84.00
                 Calls and messages with Tim re auction results, questions for Mike          210.00/hr
                 re pricing.

           TM    Sell Property/Liquidate Assets                                                0.30              52.50
                 Sent items to attorney to have exceptions related to Ning removed           175.00/hr
                 from Live Oak title report.




                                                                                                      Exhibit A, Page 53
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                                                                                           Hrs/Rate        Amount

   5/2/2018 TM   Sell Property/Liquidate Assets                                               0.20             35.00
                 Edits to Outlook contacts for case and upcoming sales of properties.       175.00/hr

           TM    Sell Property/Liquidate Assets                                               0.30             52.50
                 Calls to and from Walters and Alison re items at auction and need          175.00/hr
                 for bids be near wholesale.

           TM    Sell Property/Liquidate Assets                                               1.00         175.00
                 Reviewed items on sale in auction with Alison and determined               175.00/hr
                 potential values for select items. Checked price of silver, diamonds,
                 etc.

   5/3/2018 TM   Sell Property/Liquidate Assets                                               0.10             17.50
                 Call from Wali re status of items at Cloverly and need for window          175.00/hr
                 repair.

  5/11/2018 TM   Sell Property/Liquidate Assets                                               0.10             17.50
                 Email to Alison re jewelry.                                                175.00/hr

  5/15/2018 TM   Sell Property/Liquidate Assets                                               0.20             35.00
                 Email from Hsu with the removals of lis pendens for Live Oak.              175.00/hr
                 Email to forward to George at Chicago Title. Email to broker re
                 same.

  5/16/2018 TM   Sell Property/Liquidate Assets                                               0.20             35.00
                 Emails to and from title, attorneys re Live Oak lis pedens removals.       175.00/hr

  5/17/2018 TM   Sell Property/Liquidate Assets                                               0.10             17.50
                 Emails from title with new title re Live Oak.                              175.00/hr

           AJ    Sell Property/Liquidate Assets                                               0.20             42.00
                 Review emails from Tom and Mike Walters re auction.                        210.00/hr

  5/18/2018 TM   Sell Property/Liquidate Assets                                               0.20             35.00
                 Email from Tom re auction results and discussed with Alison the            175.00/hr
                 remaining items which need to be sold.

           TM    Sell Property/Liquidate Assets                                               1.00         175.00
                 Email from Tom to make addendum and changes to counter offer               175.00/hr
                 for Deodar. Made changes, gathered signatures and emailed to
                 broker.

           AJ    Sell Property/Liquidate Assets                                               0.40             84.00
                 Confer with Tom re auction results. Confer with Tim re same.               210.00/hr

  5/23/2018 TM   Sell Property/Liquidate Assets                                               0.70         122.50
                 Reviewed emails re status of agreement for Deodar. Gathered                175.00/hr
                 Tom's signature re extension, made scan and sent to Kaye.
                 Followed up call with Kaye and discussed overbidders and need to
                 be able to transact the property as quickly as the initial bidder, thus
                 all cash. Call with Kaye re extension. Sent info to her for escrow.




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                                                                                       Hrs/Rate           Amount

  5/24/2018 TM   Sell Property/Liquidate Assets                                           0.30              52.50
                 Reviewed emails re accounts. Call from bank re needed info.            175.00/hr

  5/29/2018 TM   Sell Property/Liquidate Assets                                           2.00            350.00
                 Completed disclosures for Deodar and prepared for Receiver's           175.00/hr
                 signature. Calls to Olivares re architectural committee, septic
                 system, probable buyer, etc.

  5/31/2018 TM   Sell Property/Liquidate Assets                                           0.10              17.50
                 Email from brokers re status of work at Live Oak and replied re        175.00/hr
                 same.

           TM    Sell Property/Liquidate Assets                                           0.10              17.50
                 Email from broker re status of disclosures.                            175.00/hr


           SUBTOTAL:                                                               [      9.70          1,753.50]

           For professional services rendered                                           205.30        $27,245.00


           Balance due                                                                                $27,245.00




                                                                                                 Exhibit A, Page 55
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Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Chen




August 14, 2018


Invoice #11201



           Professional Services

                                                                                          Hrs/Rate           Amount

           Accounting & Reporting

  6/3/2018 TM     Accounting & Reporting                                                     0.10    NO CHARGE
                  Approved invoice for Deodar.                                             175.00/hr

  6/5/2018 AJ     Accounting & Reporting                                                     0.10             21.00
                  Review email from Union Bank re fee reversal.                            210.00/hr

 6/20/2018 MRF Accounting & Reporting                                                        0.40             36.00
               Processed urgent vendor payments and met with Receiver for                   90.00/hr
               approval.


           SUBTOTAL:                                                                  [      0.60             57.00]

           Forensic Accounting

 6/27/2018 HG     Forensic Accounting                                                        3.10            248.00
                  Input data into QuickBooks for American Express account ending in         80.00/hr
                  1004.

 6/28/2018 HG     Forensic Accounting                                                        4.30            344.00
                  Input data into QuickBooks for American Express account ending in         80.00/hr
                  1004.


           SUBTOTAL:                                                                  [      7.40            592.00]




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                                                                                          Hrs/Rate        Amount

           Investor Relations

   6/1/2018 HG   Investor Relations                                                          0.10              8.00
                 Translate Receiver's 11th Report from English into Chinese.                80.00/hr

           HG    Investor Relations                                                          0.90             72.00
                 Review Claim Form in Chinese.                                              80.00/hr

           KW    Investor Relations                                                          1.30             84.50
                 Scanning in the box of physical Claim Forms.                               65.00/hr

           KW    Investor Relations                                                          0.60             39.00
                 Meeting for the claims software. Installing software.                      65.00/hr

           HG    Investor Relations                                                          1.90         152.00
                 Update Claim Form in Chinese.                                              80.00/hr

           BC    Investor Relations                                                          2.20         132.00
                 Responded to emails from Investors. Scanned Investor claims into           60.00/hr
                 system.

           AJ    Investor Relations                                                          0.30             63.00
                 Confer with Heidi re Claim for translation for posting to website.        210.00/hr

           AJ    Investor Relations                                                          6.40        1,344.00
                 Work on claims review. Make adjustments, research claim details,          210.00/hr
                 etc. Emails with Epiq regarding same.

           TM    Investor Relations                                                          1.20         210.00
                 Received 11th Report to post to website. Saved into webhost, edits        175.00/hr
                 to narrative. Made translation page for Heidi and published in
                 English and Case Documents page. Made back-up. Received
                 Chinese-language translation and posted it. Sent out emails to
                 subscribers. Ran Back-up. Email to group re completion.

           TM    Investor Relations                                                          0.10             17.50
                 Email from Network solutions re website host and administrator.           175.00/hr
                 Checked to see if info is correct by clicking through to the database.

   6/4/2018 HG   Investor Relations                                                          0.10              8.00
                 Turn over the work of updated Claim Form in Chinese.                       80.00/hr

           BC    Investor Relations                                                          2.90         174.00
                 Responded to emails from Investors. Scanned Investor claims into           60.00/hr
                 system.

           AJ    Investor Relations                                                          3.00         630.00
                 Review emails from investors and Epiq re claims issues. Research          210.00/hr
                 and respond to same, resolve claim issues. Confer with Bonnie and
                 direct re same.




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                                                                                      Hrs/Rate        Amount

   6/5/2018 BC   Investor Relations                                                      3.90         234.00
                 Responded to emails from Investors. Scanned Claims into pubdocs.       60.00/hr

           AJ    Investor Relations                                                      7.30        1,533.00
                 Review claims and run reports, compare to database and attempt to     210.00/hr
                 verify claim amounts, etc.

   6/6/2018 AJ   Investor Relations                                                      2.90         609.00
                 Review claims, messages, etc. Emails with Epiq and confer with        210.00/hr
                 Bonnie re claimant issues, etc. Work on claims and resolve filing
                 problems, review documentation, etc.

           BC    Investor Relations                                                      3.50         210.00
                 Responded to emails from Investors. Scanned Claims into pubdocs.       60.00/hr

           KW    Investor Relations                                                      3.70         240.50
                 Scanning in the box of physical Claim Forms.                           65.00/hr

   6/7/2018 KW   Investor Relations                                                      4.10         266.50
                 Scanning in the box of physical Claim Forms.                           65.00/hr

           BC    Investor Relations                                                      3.20         192.00
                 Responded to emails from Investors. Scanned Claims into pubdocs.       60.00/hr

           AJ    Investor Relations                                                      2.20         462.00
                 Review emails and correspondence from claimants re claim issues,      210.00/hr
                 withdrawals, etc., confer with Bonnie re same. Emails with Epic re
                 same. Follow up re portal fix and bar date extension, etc.

   6/8/2018 BC   Investor Relations                                                      3.20         192.00
                 Responded to emails from Investors. Scanned Claims into pubdocs.       60.00/hr

           KW    Investor Relations                                                      4.50         292.50
                 Scanning in the box of physical Claim Forms.                           65.00/hr

           AJ    Investor Relations                                                      1.70         357.00
                 Review emails and correspondence from investors and Epiq.             210.00/hr
                 Respond to same.

           AJ    Investor Relations                                                      0.20             42.00
                 Review emails and correspondence from investors re claim letters.     210.00/hr
                 Review creditor claims received.

  6/11/2018 KW   Investor Relations                                                      3.60         234.00
                 Scanning in the box of physical Claim Forms.                           65.00/hr

           AJ    Investor Relations                                                      2.20         462.00
                 Review messages and correspondence from investors. Confer with        210.00/hr
                 Bonnie re same. Verify claims info, etc.




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                                                                                        Hrs/Rate        Amount

  6/12/2018 BC   Investor Relations                                                        5.30         318.00
                 Responded to emails from Investors. Scanned Claims into pubdocs.         60.00/hr

           KW    Investor Relations                                                        4.20         273.00
                 Scanning in the box of physical Claim Forms.                             65.00/hr

           AJ    Investor Relations                                                        6.50        1,365.00
                 Review and respond to investor emails and calls. Help with portal       210.00/hr
                 issues, withdrawal requests, etc.

  6/13/2018 BC   Investor Relations                                                        4.50         270.00
                 Responded to emails and phone calls from investors. Scanned              60.00/hr
                 claim forms into Pub doc.

           HG    Investor Relations                                                        1.40         112.00
                 Translate Deodar Lane Property Sale Motion from English into             80.00/hr
                 Chinese. Talk to investor regarding to claims.

           KW    Investor Relations                                                        4.50         292.50
                 Scanning in the box of physical Claim Forms.                             65.00/hr

           TM    Investor Relations                                                        1.70         297.50
                 Email from attorneys with motion to sell Deodar. Made translation       175.00/hr
                 page for Heidi. Prepared narrative and posted English on both
                 pages and Case Documents. Checked links. Loaded Chinese page,
                 checked links. Sent email to subscribers, email to group.

           AJ    Investor Relations                                                        4.10         861.00
                 Calls and emails from investors re claim issues, questions,             210.00/hr
                 withdrawals, etc. Emails with Epic re portal fix. Confer with Tom re
                 same.

  6/14/2018 HG   Investor Relations                                                        0.20             16.00
                 Orally translate for Alison                                              80.00/hr

           BC    Investor Relations                                                        5.80         348.00
                 Responded to emails and phone calls from investors. Scanned              60.00/hr
                 claims into pubdocs and filed.

           KW    Investor Relations                                                        4.80         312.00
                 Scanning in the box of physical Claim Forms.                             65.00/hr

           AJ    Investor Relations                                                        3.40         714.00
                 Review claims emails and correspondence. Message with Epic re           210.00/hr
                 issues. Confer with Bonnie re same.

  6/15/2018 BC   Investor Relations                                                        4.10         246.00
                 Responded to emails from Investors. Scanned Claims into pubdocs.         60.00/hr

           AJ    Investor Relations                                                        3.20         672.00
                 Review emails and correspondence. Respond to same. Look up              210.00/hr
                 and review claims, etc. Confer Bonnie re email issues.




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                                                                                       Hrs/Rate        Amount


  6/15/2018 KW   Investor Relations                                                       4.60         299.00
                 Scanning in the box of physical Claim Forms.                            65.00/hr

  6/18/2018 AJ   Investor Relations                                                       3.60         756.00
                 Review claims and issues. Confer with Bonnie re same. Research         210.00/hr
                 and update claims. Email to Epiq re status on security feature fix.

           BC    Investor Relations                                                       4.20         252.00
                 Responded to emails from Investors. Scanned Claims into pubdocs.        60.00/hr

  6/19/2018 BC   Investor Relations                                                       4.30         258.00
                 Responded to emails from Investors. Scanned Claims into pubdocs.        60.00/hr

           AJ    Investor Relations                                                       6.80        1,428.00
                 Work on claims review. Research and update claims. Review              210.00/hr
                 emails and correspondence from claimants. Confer with Bonnie re
                 claims received, etc. Give direction on responses to investor
                 inquiries. Review emails from Epiq.

           AJ    Investor Relations                                                       0.40             84.00
                 Email from David Zaro re bar date extension. Confer with Tom re        210.00/hr
                 same. Will have a call tomorrow to discuss in detail.

  6/20/2018 BC   Investor Relations                                                       2.30         138.00
                 Responded to emails from Investors. Scanned Claims into pubdocs.        60.00/hr

           AJ    Investor Relations                                                       0.30             63.00
                 Call with Tom to discuss claims bar date. Discuss claims received,     210.00/hr
                 issues with portal, etc. Call with David Zaro re same.

           AJ    Investor Relations                                                       0.30             63.00
                 Review and respond to emails from Epiq regarding claims.               210.00/hr

  6/21/2018 AJ   Investor Relations                                                       2.80         588.00
                 Review and respond to emails and investor correspondence.              210.00/hr
                 Review and research claims. Confer with Bonnie re claim filing
                 questions from investors. Look at new claims imported, etc.

           BC    Investor Relations                                                       3.50         210.00
                 Responded to emails from Investors. Scanned Claims into pubdocs.        60.00/hr

  6/22/2018 AJ   Investor Relations                                                       0.20             42.00
                 Call with Ted re claim form for attorney. Email same.                  210.00/hr

           HG    Investor Relations                                                       1.70         136.00
                 Talk to the investor and Alison back and forth. Update Claim Form       80.00/hr
                 in Chinese and email it to Tim.

           AJ    Investor Relations                                                       1.20         252.00
                 Review draft motion to extend bar date. Print copy for Tom to          210.00/hr
                 review. Research and fill in data. Email to Epiq regarding same.




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                                                                                       Hrs/Rate        Amount


  6/22/2018 BC   Investor Relations                                                       4.60         276.00
                 Responded to emails from Investors. Scanned Claims into                 60.00/hr
                 pubdocs. Spoke with Investors regarding claims.

           AJ    Investor Relations                                                       0.60         126.00
                 Update claim forms and prepare for posting to website, work with       210.00/hr
                 Heidi on update to Chinese form. Email Tim directions re same.

           AJ    Investor Relations                                                       2.50         525.00
                 Review messages and correspondence from investor claimants.            210.00/hr
                 Research and review claims. Confer with Bonnie and Heidi re
                 claimant issues, give instruction on response, etc.

           TM    Investor Relations                                                       1.00         175.00
                 Posted claim forms.                                                    175.00/hr

  6/25/2018 AJ   Investor Relations                                                       0.10             21.00
                 Review email from Epiq re working on response for extension            210.00/hr
                 motion.

           AJ    Investor Relations                                                       4.80        1,008.00
                 Review and research claims, mark duplicates as invalid, etc. Emails    210.00/hr
                 with investor claimants. Review claims received with Bonnie and
                 give direction on same.

           AJ    Investor Relations                                                       0.20             42.00
                 Review email from David re claims bar date extension motion.           210.00/hr
                 Respond to same. Email to Epiq requesting timing on response.

           BC    Investor Relations                                                       4.30         258.00
                 Responded to emails from Investors. Scanned Claims into pubdocs.        60.00/hr

           HG    Investor Relations                                                       1.90         152.00
                 Print Claim Form and FAQ sheet for investor and answer her              80.00/hr
                 questions. Email the summary on Xianwei Li's phone call to Alison.

           TM    Investor Relations                                                       0.40             70.00
                 Question from Heidi re some wording on FAQ page of website.            175.00/hr
                 Discussed which language is to be used. Made changes to
                 Chinese-language page of FAQ's and posted. Made back-ups.

           TM    Investor Relations                                                       0.10             17.50
                 Met with investor re claim form and had Heidi handle getting a         175.00/hr
                 paper form from Alison.

  6/26/2018 HG   Investor Relations                                                       0.40             32.00
                 Translate Printable Claim Forms from English to Chinese.                80.00/hr




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                                                                                       Hrs/Rate        Amount

  6/26/2018 AJ   Investor Relations                                                       0.10             21.00
                 Review email re claims motion.                                         210.00/hr

           AJ    Investor Relations                                                       0.20             42.00
                 Confer with Tom re claims motion.                                      210.00/hr

           AJ    Investor Relations                                                       3.70         777.00
                 Review claims, respond to inquires and questions, validate claims,     210.00/hr
                 etc.

           AJ    Investor Relations                                                       0.40             84.00
                 Call with Tom and Jill from Epiq re input for motion, cost for call    210.00/hr
                 center vs. setting up a message center.

           AJ    Investor Relations                                                       1.60         336.00
                 Work revisions to claims bar date extension motion, red line.          210.00/hr

  6/27/2018 BC   Investor Relations                                                       0.30             18.00
                 Responded to emails from claimants.                                     60.00/hr

           AJ    Investor Relations                                                       0.80         168.00
                 Continue to work on claims motion, add info, and email to Jill at      210.00/hr
                 Epiq to follow up on info needed.

           AJ    Investor Relations                                                       2.60         546.00
                 Review messages and correspondence, respond to same. Review            210.00/hr
                 claims, and verify, etc.

           AJ    Investor Relations                                                       0.60         126.00
                 Confer with Tom re claims motion extension.                            210.00/hr

  6/28/2018 BC   Investor Relations                                                       0.50             30.00
                 Responded to emails from claimants.                                     60.00/hr

           HG    Investor Relations                                                       0.60             48.00
                 Translate Motion to Pursue Claims Against Li Zhao from English to       80.00/hr
                 Chinese.

           HG    Investor Relations                                                       1.10             88.00
                 Writing email to investor and update claim FAQ in Chinese.              80.00/hr

           TM    Investor Relations                                                       2.00         350.00
                 Received email with Motion To Pursue Claims and supporting             175.00/hr
                 documents to post to website. Made translation page for Heidi.
                 Posted items on English page and Case Documents. Posted
                 recently translated item re claim forms, as well to the FAQ section
                 in both English and Chinese. Tested all links. Received translation
                 from Heidi and posted new items to Chinese page. Checked links,
                 made back ups. Sent emails in both English and Chinese, checked
                 links. Sent to group re completion of job.




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                                                                                          Hrs/Rate           Amount

  6/28/2018 AJ   Investor Relations                                                          0.50            105.00
                 Review and respond to emails and messages re claims extension             210.00/hr
                 motion. Set up call with Epiq.

           AJ    Investor Relations                                                          0.70            147.00
                 Call with Jill and others from Epiq to discuss message center,            210.00/hr
                 needs, capabilities, timing, cost, etc.

           AJ    Investor Relations                                                          2.80            588.00
                 Review messages and correspondence. Confer with Bonnie and                210.00/hr
                 Heidi re investor responses. Review claims questions, etc. Follow
                 up with Tom re Epiq response. Send emails to Tom and David re
                 cost for message center, etc. Follow up with Tom and Jill re same.

  6/29/2018 HG   Investor Relations                                                          0.50              40.00
                 Talk to the investor, check the Claim Forms, print the documents           80.00/hr
                 for her. Discuss the claims with Bonnie.

           BC    Investor Relations                                                          7.80            468.00
                 Responded to emails from Investors. Downloaded and opened                  60.00/hr
                 claim mail received. Prepare claims for scanning.

           TM    Investor Relations                                                          0.30              52.50
                 Texts from Alison re email mailbox full for USFIA. Logged on and          175.00/hr
                 added another gigabyte of storage.

           AJ    Investor Relations                                                          2.20            462.00
                 Review messages and emails, calls with Ted re motion to extend.           210.00/hr
                 Review and call with final revisions. Review same and confer with
                 Tom. Print final for Tom's signature, scan and send to Ted.

           AJ    Investor Relations                                                          2.30            483.00
                 Review emails and messages from claimants. Calls with Tim re              210.00/hr
                 issue with storage capacity. Review email from Cheryl re site and
                 security feature fix. Review claims and validate same. Confer with
                 Bonnie re email issues, and confirm with Tim and notify Epiq once
                 fixed.


           SUBTOTAL:                                                                  [    209.60         26,608.50]

           Litigation & Support

   6/6/2018 AJ   Litigation & Support                                                        1.40            294.00
                 Review messages from Ted re Li Zhao payments. Run report of               210.00/hr
                 transactions and compare to previous report. Start to sort and
                 organize for exhibit.




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                                                                                             Hrs/Rate           Amount

  6/14/2018 AJ   Litigation & Support                                                           0.10              21.00
                 Email to Ted re status on report requested.                                  210.00/hr

  6/15/2018 AJ   Litigation & Support                                                           2.20            462.00
                 Revise payment report for Zhao litigation. Email revised report to           210.00/hr
                 Ted for review and comments.

  6/20/2018 AJ   Litigation & Support                                                           0.20              42.00
                 Review email from Tom re changes to Li Zhao document. Call re                210.00/hr
                 same.


           SUBTOTAL:                                                                     [      3.90            819.00]

           Project Management

   6/1/2018 AJ   Project Management                                                             0.20              42.00
                 Confer with Dan re issues with installing Claims software. Confer            210.00/hr
                 with Bonnie re same.

   6/4/2018 TM   Project Management                                                             1.00            175.00
                 Question from Tom re receipts for Cloverly junk removal and                  175.00/hr
                 reviewed. Printed all, call to vendor and arranged small refund for 5
                 items. Gave info to Matthew and reviewed his documentation.
                 Found additional receipt for the Carson job and gave to him. Call
                 from vendor asking me to forward all receipts to him so he can
                 make adjustments. Did so.

           TM    Project Management                                                             0.30              52.50
                 Logged onto tax collector website for instructions for changing              175.00/hr
                 address and name of responsible party for Lot 14.

           DC    Project Management                                                             0.10              17.00
                 Met with Tim re Tax question on IE property.                                 170.00/hr

           AJ    Project Management                                                             0.20              42.00
                 Review vendor bills, etc.                                                    210.00/hr

   6/6/2018 TM   Project Management                                                             0.10              17.50
                 Call from Got-Junk re need to call local vendor re refunds.                  175.00/hr

           TM    Project Management                                                             0.30              52.50
                 Discussed with Alison removal of final items and jewelry. Call and           175.00/hr
                 text to Raofi re same. Discussed with Bonnie the items and
                 searched pictures. Called people to assist in removing items.

   6/7/2018 TM   Project Management                                                             0.10              17.50
                 Question from Alison re entity that rented space at Carson                   175.00/hr
                 warehouse. Searched files and replied.




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                                                                                            Hrs/Rate           Amount

  6/18/2018 TM   Project Management                                                            0.10              17.50
                 Checked PACER for Court documents.                                          175.00/hr

  6/28/2018 DC   Project Management                                                            0.20              34.00
                 Received email re USFIA. Translated and looked up name in                   170.00/hr
                 forensic accounting. Forwarded to Alison Juroe.

  6/29/2018 AJ   Project Management                                                            0.30              63.00
                 Review email from AUSA and responses from David and Tom re                  210.00/hr
                 same. Confer with Tom.


           SUBTOTAL:                                                                    [      2.90            530.50]

           Property Management

   6/5/2018 TM   Property Management                                                           0.60            105.00
                 Text to landscaper to confirm canceling of service. Email to new            175.00/hr
                 vendor to get quote. Made overhead picture of the Live Oak location
                 showing which area is to be serviced.

           TM    Property Management                                                           0.30              52.50
                 Discussed roofing and drywall bids and got approval from Tom.               175.00/hr
                 Sent to roofer with email re scheduling.

   6/6/2018 TM   Property Management                                                           1.10            192.50
                 Call with broker re cleaning of Live Oak. Got permission for bid.           175.00/hr
                 Sent bid approval to broker. Call to cleaner re address for payment.
                 Arranged for starter payment.

           TM    Property Management                                                           0.80            140.00
                 Call to next door property manager re bees. Approved bee removal            175.00/hr
                 and emailed to vendor. Call to vendor re same ana LM. Call from
                 vendor and discussed logistics of performing the task and time
                 frame.

   6/7/2018 TM   Property Management                                                           0.40              70.00
                 Travel to and from Santa Ana for truck rental; at half pay.                 175.00/hr

           TM    Property Management                                                           1.70            297.50
                 Searched for truck rental for Live Oak. Calls to several. Reserved          175.00/hr
                 one. Call to my insurance to determine coverage of rental van.
                 Picked up truck and paid.

   6/8/2018 TM   Property Management                                                           1.40            245.00
                 Travel to Arcadia, Walmart, Irvine and Santa Ana; at half pay.              175.00/hr

           TM    Property Management                                                           6.20          1,085.00
                 Bought toiletries for bathrooms, met with roofers and let them into         175.00/hr
                 building. Call to security to order close up by them. Checked on
                 progress of roofing. Checked building for all items to be moved.
                 Loaded dozens of boxes into truck. Met with locsksmith and
                 determined which doors required to be re-keyed and opened and




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                                                                                         Hrs/Rate        Amount

                 which simply needed covers to the electronic lock bolts. Moved
                 items to storage. Returned rental truck. Approved invoice for
                 locksmith and made payment on rental truck.

  6/11/2018 TM   Property Management                                                        0.30             52.50
                 Received invoice re roof work and reviewed the progress and              175.00/hr
                 completion pictures.

           TM    Property Management                                                        0.20             35.00
                 Call and LM with drywall contractor. Received call back and              175.00/hr
                 scheduled work.

           TM    Property Management                                                        0.10             17.50
                 Email from Warlin re two quotes arriving tomorrow morning re             175.00/hr
                 insurance re Utica.

  6/12/2018 TM   Property Management                                                        0.90         157.50
                 Received insurance proposal and forwarded to Tom for approval.           175.00/hr
                 Discussed with Tom and prepared for signatures and gathered.
                 Made pdf and sent to broker. Call from same. Prepared invoice for
                 Matthew to pay normally.

  6/13/2018 TM   Property Management                                                        0.20             35.00
                 Calls to and from contractor re starting drywall work tomorrow. Call     175.00/hr
                 to security. Search for painter info.

           TM    Property Management                                                        0.20             35.00
                 Received email with insurance binder re Lot 14, discussed other          175.00/hr
                 needs for other Steamfont properties.

  6/14/2018 TM   Property Management                                                        0.40             70.00
                 Call from contractor re entry to building. Call to security to remove    175.00/hr
                 alarm, call to contractor. Call from contractor re alarm. Call re
                 leaving and email re invoice.

           TM    Property Management                                                        0.10             17.50
                 Approved invoice re gopher removal at Deodar.                            175.00/hr

           TM    Property Management                                                        0.30             52.50
                 Question to Tom re names on Lot 14 insurance cert and binder.            175.00/hr
                 Email to broker re same. Call from broker and discussed needed
                 changes. Received new cert and saved in pubdocs and file.

           TM    Property Management                                                        0.10             17.50
                 Question to Tom re other Steamfont properties. Given direction re        175.00/hr
                 insurance.

           TM    Property Management                                                        0.50             87.50
                 Calls to property manager of next door building re bees. Sent email      175.00/hr
                 with approved bid, pictures.




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                                                                                          Hrs/Rate        Amount

  6/15/2018 TM   Property Management                                                         0.10             17.50
                 Email to exterminator re branch removal and bees.                         175.00/hr

           TM    Property Management                                                         0.10             17.50
                 Email from exterminator re no more bees.                                  175.00/hr

  6/17/2018 TM   Property Management                                                         0.10             17.50
                 Email from painter re Live Oak. Replied re time to visit property.        175.00/hr

  6/18/2018 TM   Property Management                                                         0.10             17.50
                 Received additional documents related to Utica insurance. Filed           175.00/hr
                 with other items.

  6/19/2018 TM   Property Management                                                         1.00         175.00
                 Gathered documents, property profiles, street pictures, etc. and          175.00/hr
                 prepared to send to insurance company re new policies.

           TM    Property Management                                                         0.20             35.00
                 Texts to and from painter, call with broker re Live Oak painting work.    175.00/hr

           TM    Property Management                                                         0.20             35.00
                 Email from Warlin re insurance payment. Discussed with Matthew.           175.00/hr
                 Made UPS envelope.

  6/20/2018 TM   Property Management                                                         0.20             35.00
                 Texts to and from painter and security re opening building for paint      175.00/hr
                 work. Call to security.

           TM    Property Management                                                         0.10             17.50
                 Call from roofing vendor re final invoice.                                175.00/hr

           TM    Property Management                                                         1.00         175.00
                 Gathered info for insurance agent re four properties.                     175.00/hr

  6/21/2018 TM   Property Management                                                         0.10             17.50
                 Text to Landfried re alarm.                                               175.00/hr

  6/22/2018 TM   Property Management                                                         0.10             17.50
                 Text to Landfried re alarm. Received reply.                               175.00/hr

           TM    Property Management                                                         0.10             17.50
                 Search for any reply from landscape company. Call to same as I            175.00/hr
                 found none and spoke with manager re sending again as not
                 received.

  6/25/2018 TM   Property Management                                                         1.20         210.00
                 Prepared items to deliver to insurance agent re four properties and       175.00/hr
                 projected replacement costs. Sent email to agent re same.

           TM    Property Management                                                         0.20             35.00
                 Received report from alarm company re previous alarms.                    175.00/hr
                 Attempted to load it onto spreadsheet for edits to legal papers.




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                                                                                             Hrs/Rate           Amount


  6/25/2018 TM    Property Management                                                           1.10            192.50
                  Searched for ceiling repair companies for work on atrium in Live            175.00/hr
                  Oak. Found several and contacted. Sent several pictures via phone
                  re types of tiles and difficulty replacing them due to overhang.

  6/26/2018 TM    Property Management                                                           0.20              35.00
                  Call from Warlin re issues related to four properties. Checked title        175.00/hr
                  reports for mortgages, possiblity of insurance in place.

  6/27/2018 TM    Property Management                                                           0.30              52.50
                  Received tile replacement bid. Printed and signed. Text to vendor re        175.00/hr
                  number of tiles to be replaced. Discussed with Tom, email to
                  vendor.

           TM     Property Management                                                           0.10              17.50
                  Received landscape invoice and processed.                                   175.00/hr

  6/28/2018 TM    Property Management                                                           0.10              17.50
                  Call to security re turning off alarm at Live Oak.                          175.00/hr

           TM     Property Management                                                           0.10              17.50
                  Approved invoice.                                                           175.00/hr

           TM     Property Management                                                           0.70            122.50
                  Calls to and from Landfried re alarm. Set up alarm for me and               175.00/hr
                  checked system on phone and computer. Call to broker re same.
                  Call with ceiling tile person re schedule of work.

  6/30/2018 TM    Property Management                                                           0.20              35.00
                  Calls from cleaner re opening Live Oak. Logged on and turned off            175.00/hr
                  alarm, then turned back on after cleaning.


           SUBTOTAL:                                                                     [     23.40          4,095.00]

           Receiver

   6/1/2018 TAS   Receiver                                                                      0.30            115.50
                  Review and sign checks for bills, review cash position.                     385.00/hr

   6/4/2018 TAS   Receiver                                                                      0.60            231.00
                  Review draft listing agreement, direct Tim re addendum, confer with         385.00/hr
                  Howard re property and marketing of same.

           TAS    Receiver                                                                      0.30            115.50
                  Direct Alison re remaining personal property.                               385.00/hr

           TAS    Receiver                                                                      0.30            115.50
                  Deal with buyer contingency removal, direct Tim re same, direct             385.00/hr
                  counsel re sale approval motion.




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                                                                                         Hrs/Rate        Amount


   6/5/2018 TAS   Receiver                                                                  0.50         192.50
                  Direct Tim re Hamlin listing, telephone call with Howard re same        385.00/hr
                  and sign issue, review addendum, direct re changes, etc.

           TAS    Receiver                                                                  0.50         192.50
                  Telephone call with David Zaro re real estate sale issues.              385.00/hr

           TAS    Receiver                                                                  0.20             77.00
                  Telephone call with David Zaro re Deodar sale motion.                   385.00/hr

   6/6/2018 TAS   Receiver                                                                  0.50         192.50
                  Review and edit Deodar sale motion.                                     385.00/hr

           TAS    Receiver                                                                  0.30         115.50
                  Confer re status of claims processing.                                  385.00/hr

   6/7/2018 TAS   Receiver                                                                  0.50         192.50
                  Telephone call with David Zaro re questions from AUSA, claims,          385.00/hr
                  accounting.

           TAS    Receiver                                                                  0.60         231.00
                  Telephone call with David Zaro claims notice expansion and              385.00/hr
                  non-investor claim objections.

   6/8/2018 TAS   Receiver                                                                  0.20             77.00
                  Telephone call with Ted Fates re fee application for Dominican          385.00/hr
                  counsel

  6/11/2018 TAS   Receiver                                                                  0.20             77.00
                  Direct Tim re appraiser selection.                                      385.00/hr

  6/12/2018 TAS   Receiver                                                                  0.20             77.00
                  Telephone call with David Zaro re subpoena reply.                       385.00/hr

           TAS    Receiver                                                                  0.30         115.50
                  Telephone call with Ted Fates re Deodar sale approval motion,           385.00/hr
                  review and comment on declaration, execute etc.

           TAS    Receiver                                                                  0.40         154.00
                  Telephone call with David Zaro re update of progress on claims.         385.00/hr

           TAS    Receiver                                                                  0.70         269.50
                  Review investor communications from investors wishing to                385.00/hr
                  withdrawal previously filed claims, appear to be being influenced by
                  Chen and leaders, new Chen venture, review emails re same.
                  Confer with Alison re same. Telephone call with David Zaro re
                  same.

  6/13/2018 TAS   Receiver                                                                  0.40         154.00
                  Meet with auctioneer re results and additional expenses sought,         385.00/hr
                  negotiate same.




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Thomas Seaman, Receiver for Chen                                                                     Page     15

                                                                                        Hrs/Rate        Amount


  6/13/2018 TAS   Receiver                                                                 0.40         154.00
                  Direct Alison re claimant inquiries.                                   385.00/hr

  6/14/2018 TAS   Receiver                                                                 0.70         269.50
                  Confer with Alison re claims status, group of investors submitted      385.00/hr
                  claims and are now wanting to withdraw their claims, review
                  communications and direct re responses to same. Telephone call
                  with counsel re same.

           TAS    Receiver                                                                 0.30         115.50
                  Direct Tim on Deodar details, and sign docs.                           385.00/hr

           TAS    Receiver                                                                 0.20             77.00
                  Direct Tim re reply to broker and overbidders.                         385.00/hr

           TAS    Receiver                                                                 0.50         192.50
                  Telephone call with David Zaro re motion to extend bar date            385.00/hr

  6/19/2018 TAS   Receiver                                                                 0.40         154.00
                  Telephone call with David Zaro re claims issues                        385.00/hr

           TAS    Receiver                                                                 0.40         154.00
                  Confer with Alison re claims issues.                                   385.00/hr

           TAS    Receiver                                                                 0.50         192.50
                  Review, edit and comment on Li Zhao motion.                            385.00/hr

           TAS    Receiver                                                                 0.40         154.00
                  Telephone call with David Zaro re claims bar date and issues           385.00/hr
                  affecting same.

           TAS    Receiver                                                                 0.30         115.50
                  Telephone call with David Zaro re need to extend bar date,             385.00/hr
                  reasoning for same

  6/20/2018 TAS   Receiver                                                                 0.30         115.50
                  Give Alison draft reply for investor questions.                        385.00/hr

           TAS    Receiver                                                                 0.30         115.50
                  Direct Tim and brokers re overbidders questions.                       385.00/hr

           TAS    Receiver                                                                 0.20             77.00
                  Execute seller disclosures and other documents related to sale.        385.00/hr

           TAS    Receiver                                                                 0.30         115.50
                  Telephone call with David Zaro re claims processing, portal issues,    385.00/hr
                  Epiq, etc

           TAS    Receiver                                                                 0.40         154.00
                  Telephone call with Ted Fates re motion for authority to pursue LI     385.00/hr
                  Zhao




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                                                                                             Hrs/Rate           Amount


  6/21/2018 TAS   Receiver                                                                      0.50    NO CHARGE
                  Fee application narrative revisions                                         385.00/hr

  6/22/2018 TAS   Receiver                                                                      0.70            269.50
                  Review draft motion re claims bar date extension, confer with               385.00/hr
                  Alison, Telephone call with David Zaro re same.

           TAS    Receiver                                                                      0.30            115.50
                  Telephone call with David Zaro re status of takeover of new                 385.00/hr
                  properties.

  6/25/2018 TAS   Receiver                                                                      0.40            154.00
                  Telephone call with David Zaro re outstanding issues with Epiq,             385.00/hr
                  portal, cost, process

           TAS    Receiver                                                                      0.40            154.00
                  Telephone call with David Zaro re Epiq and fixing portal issues.            385.00/hr
                  scope change going forward, etc

  6/26/2018 TAS   Receiver                                                                      0.90            346.50
                  Confer with Alison re draft motion to extend bar date, review               385.00/hr
                  comments and make edits.

           TAS    Receiver                                                                      0.30            115.50
                  Telephone call with David Zaro Review email from claims                     385.00/hr
                  processing issues

           TAS    Receiver                                                                      0.30            115.50
                  Telephone call with David Zaro re Li Zhao motion for approval to sue        385.00/hr

  6/27/2018 TAS   Receiver                                                                      0.60            231.00
                  Telephone call with David Zaro re details for bar date extension,           385.00/hr
                  scope of next step in process, budget for revised scope, etc, input
                  for declaration

  6/28/2018 TAS   Receiver                                                                      0.40            154.00
                  Follow up Epiq re claims process.                                           385.00/hr

           TAS    Receiver                                                                      0.40            154.00
                  Telephone call with declaration for claims bar date extension motion        385.00/hr

  6/29/2018 TAS   Receiver                                                                      0.60            231.00
                  Telephone call with Ted and confer with Alison re claims bar date           385.00/hr
                  extension motion, review and execute same.

           TAS    Receiver                                                                      0.30            115.50
                  Confer with Alison re materials to produce for subpoena.                    385.00/hr


           SUBTOTAL:                                                                     [     18.70          7,007.00]




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                                                                                 Hrs/Rate        Amount

           Receivership Administration

   6/1/2018 BC   Receivership Administration                                        1.20             72.00
                 Prepared checks to be mailed to creditors. Filed check backup     60.00/hr
                 copies.

   6/4/2018 KW   Receivership Administration                                        0.40             26.00
                 PO Box check.                                                     65.00/hr

           BC    Receivership Administration                                        0.30             18.00
                 Prepared checks to be mailed to creditors. Filed check backup     60.00/hr
                 copies.

           BC    Receivership Administration                                        2.20         132.00
                 Researched and spoke with precious metal refiners regarding       60.00/hr
                 melting down silver rings for cash.

   6/7/2018 KW   Receivership Administration                                        0.40             26.00
                 PO Box check.                                                     65.00/hr

   6/8/2018 KW   Receivership Administration                                        0.70             45.50
                 Retrieving rings from the storage.                                65.00/hr

  6/11/2018 KW   Receivership Administration                                        0.40             26.00
                 PO Box check.                                                     65.00/hr

  6/12/2018 KW   Receivership Administration                                        0.40             26.00
                 PO Box check.                                                     65.00/hr

  6/13/2018 KW   Receivership Administration                                        0.40             26.00
                 PO Box check.                                                     65.00/hr

  6/14/2018 KW   Receivership Administration                                        0.40             26.00
                 PO Box check.                                                     65.00/hr

  6/15/2018 KW   Receivership Administration                                        0.40             26.00
                 PO Box check.                                                     65.00/hr

  6/18/2018 KW   Receivership Administration                                        1.10             71.50
                 PO Box check. Also organizing miscellaneous documents.            65.00/hr

  6/19/2018 KW   Receivership Administration                                        1.30             84.50
                 Organizing misc. documents.                                       65.00/hr

  6/20/2018 KW   Receivership Administration                                        0.80             52.00
                 Organizing misc. documents.                                       65.00/hr

  6/21/2018 KW   Receivership Administration                                        0.80             52.00
                 PO Box check and gathering more rings from the storage unit.      65.00/hr




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                                                                                            Hrs/Rate           Amount

  6/22/2018 KW   Receivership Administration                                                   0.40              26.00
                 PO Box check.                                                                65.00/hr

  6/25/2018 KW   Receivership Administration                                                   0.40              26.00
                 PO Box check.                                                                65.00/hr

  6/28/2018 KW   Receivership Administration                                                   0.40              26.00
                 PO Box check.                                                                65.00/hr

  6/29/2018 KW   Receivership Administration                                                   0.40              26.00
                 PO Box check.                                                                65.00/hr


           SUBTOTAL:                                                                    [     12.80            813.50]

           Sell Property/Liquidate Assets

   6/1/2018 TM   Sell Property/Liquidate Assets                                                1.10            192.50
                 Had Tom sign disclosures for Deodar prospective buyer. Checked              175.00/hr
                 signatures for completeness. Scanned and sent to brokers. Calls to
                 follow up. Another email with additional disclosures, had Tom sign,
                 made scan and returned to broker.

   6/4/2018 TM   Sell Property/Liquidate Assets                                                0.80            140.00
                 Email from broker with contingency removal. Discussed with Tom,             175.00/hr
                 received email from Tom and replied with full contract and listing
                 agreements during selling time. Email to title re update of report.
                 Received updated report and sent to Fates and brokers.

           TM    Sell Property/Liquidate Assets                                                1.10            192.50
                 Made Notice of Sale for publication for Deodar property. Discussed          175.00/hr
                 possible dates for auction and overbid with Tom and got direction to
                 start notice a few days early. Edits to notice and sent to Fates for
                 his approval. Received reply. Sent notice to San Gabriel Valley
                 Tribune. Edits to calendar to track items. Received proof for
                 approval. Approved, scanned and sent. Received receipt. Email to
                 Fates and brokers.

           TM    Sell Property/Liquidate Assets                                                0.10              17.50
                 Call from Tom re moving forward with selling procedures at Live             175.00/hr
                 Oak.

           AJ    Sell Property/Liquidate Assets                                                0.70            147.00
                 Confer with Tom re remaining items to sell. Give direction to Bonnie        210.00/hr
                 re same. Confer with Tim re location. Call with Wali re transport of
                 same. Follow up with Bonnie re pricing, etc.

   6/5/2018 TM   Sell Property/Liquidate Assets                                                0.40              70.00
                 Email from brokers re need for new Addendum to Listing                      175.00/hr
                 Agreement due to incorrect date. Made new Addendum and printed
                 for Receiver's signature. Call to brokerage and confirmed dates.
                 Made corrected forms and gathered Tom's signature. Scanned and




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                                                                                        Hrs/Rate        Amount

                 sent to brokers for Deodar.

   6/5/2018 TM   Sell Property/Liquidate Assets                                            1.00         175.00
                 Email from Tom re listing agreement for Lot 14. Edits to agreement      175.00/hr
                 and made addendum. Prepared for Tom's instructions and printed.

           TM    Sell Property/Liquidate Assets                                            0.20             35.00
                 Call from broker and discussed cleaning bids.                           175.00/hr

           TM    Sell Property/Liquidate Assets                                            0.10             17.50
                 Email from Fates with Deodar sale motion. Email to brokers re           175.00/hr
                 marketing info.

   6/6/2018 TM   Sell Property/Liquidate Assets                                            0.10             17.50
                 Email from brokers for Deodar with marketing statistics and info.       175.00/hr
                 Told Tom and sent to Fates to be incorporated into sale motion.

   6/7/2018 TM   Sell Property/Liquidate Assets                                            0.60         105.00
                 Email from Hamlin re appraiser possibility. Entered contact info and    175.00/hr
                 emailed him info re Lot 14. Sent email to additional appraiser, as
                 well and included documents regarding the property for both emails.

           TM    Sell Property/Liquidate Assets                                            0.10             17.50
                 Checked for publication of legal notice for Deodar. Found on SGVT       175.00/hr
                 website, made pdf. Printed for file.

   6/8/2018 KW   Sell Property/Liquidate Assets                                            4.00         260.00
                 Remove rings from plastic to prepare for melting.                        65.00/hr

   6/9/2018 BC   Sell Property/Liquidate Assets                                            2.00         120.00
                 Cut rings out of packaging to get ready for refining silver.             60.00/hr

           AJ    Sell Property/Liquidate Assets                                            9.00        1,890.00
                 Remove rings from plastic to prepare for melting.                       210.00/hr

           KW    Sell Property/Liquidate Assets                                            8.00         520.00
                 Remove rings from plastic to prepare for melting.                        65.00/hr

  6/10/2018 BC   Sell Property/Liquidate Assets                                            2.50         150.00
                 Cut rings out of packaging to get ready for refining silver.             60.00/hr

           AJ    Sell Property/Liquidate Assets                                            3.70         777.00
                 Remove rings from plastic to prepare for melting.                       210.00/hr

           KW    Sell Property/Liquidate Assets                                            8.00         520.00
                 Remove rings from plastic to prepare for melting.                        65.00/hr

  6/11/2018 TM   Sell Property/Liquidate Assets                                            0.50             87.50
                 Received signed Deodar Modification and Addendum from brokers           175.00/hr
                 and re-compiled a Fully Executed Listing Agreement and saved in
                 pubdocs. Additional emails from broker re missing disclosures that




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                                                                                     Hrs/Rate        Amount

                 were already sent in. Searched for documents.

  6/11/2018 TM   Sell Property/Liquidate Assets                                         0.40             70.00
                 Prepared appraisal examples for Tom to review re Utica. Received     175.00/hr
                 direction on which to use and sent email to appraiser.

           BC    Sell Property/Liquidate Assets                                         7.00         420.00
                 Cut rings out of packaging to get ready for refining silver.          60.00/hr

           AJ    Sell Property/Liquidate Assets                                         3.00         630.00
                 Remove rings from plastic to prepare for melting.                    210.00/hr

           KW    Sell Property/Liquidate Assets                                         5.00         325.00
                 Remove rings from plastic to prepare for melting.                     65.00/hr

  6/12/2018 TM   Sell Property/Liquidate Assets                                         0.10             17.50
                 Email from appraiser re upcoming authorization.                      175.00/hr

           TM    Sell Property/Liquidate Assets                                         0.50             87.50
                 Email from Fates re Deodar declaration. Call with Fates. Call to     175.00/hr
                 Tom re same and gathered signature. Made scan and sent to Fates.

           TM    Sell Property/Liquidate Assets                                         0.30             52.50
                 Reviewed email re additional disclosures for Deodar property.        175.00/hr

           KW    Sell Property/Liquidate Assets                                         5.00         325.00
                 Remove rings from plastic to prepare for melting.                     65.00/hr

           AJ    Sell Property/Liquidate Assets                                         0.20             42.00
                 Pick up more rings from storage.                                     210.00/hr

  6/13/2018 KW   Sell Property/Liquidate Assets                                         5.00         325.00
                 Remove rings from plastic to prepare for melting.                     65.00/hr

           AJ    Sell Property/Liquidate Assets                                         0.50         105.00
                 Call from Mike Walters. Met with Mike and Tom re auction results.    210.00/hr
                 Received the vending machine cash. Counted and gave to Matt for
                 depositing.

           AJ    Sell Property/Liquidate Assets                                         0.20             42.00
                 Transported sliver into office, gave additional boxes to Kim.        210.00/hr

           AJ    Sell Property/Liquidate Assets                                         0.60         126.00
                 Receive and review final auction report.                             210.00/hr

  6/14/2018 TM   Sell Property/Liquidate Assets                                         0.40             70.00
                 Prepared additional disclosures for Tom to sign re Deodar.           175.00/hr

           TM    Sell Property/Liquidate Assets                                         0.10             17.50
                 Email from broker re Deodar and overbidders. Printed for Tom to      175.00/hr
                 review.




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                                                                                         Hrs/Rate        Amount


  6/14/2018 KW   Sell Property/Liquidate Assets                                             4.00         260.00
                 Remove rings from plastic to prepare for melting.                         65.00/hr

  6/15/2018 KW   Sell Property/Liquidate Assets                                             4.00         260.00
                 Remove rings from plastic to prepare for melting.                         65.00/hr

  6/16/2018 AJ   Sell Property/Liquidate Assets                                             1.70         357.00
                 Remove rings from plastic to prepare for melting.                        210.00/hr

  6/17/2018 AJ   Sell Property/Liquidate Assets                                             1.30         273.00
                 Remove rings from plastic to prepare for melting.                        210.00/hr

  6/18/2018 BC   Sell Property/Liquidate Assets                                             1.00             60.00
                 Cut rings out of packaging to get ready for refining silver.              60.00/hr

  6/19/2018 BC   Sell Property/Liquidate Assets                                             1.00             60.00
                 Cut rings out of packaging to get ready for refining silver.              60.00/hr

  6/20/2018 AJ   Sell Property/Liquidate Assets                                             3.50         735.00
                 Remove rings from plastic to prepare for melting.                        210.00/hr

           TM    Sell Property/Liquidate Assets                                             0.30             52.50
                 Gathered signatures for multiple disclosures for Deodar, made scan       175.00/hr
                 and sent to brokers. Printed email for Tom re question from brokers
                 re overbidders. Explained to Tom the situation.

  6/21/2018 KW   Sell Property/Liquidate Assets                                             4.60         299.00
                 Removing rings from plastic to be melted and sold.                        65.00/hr

           AJ    Sell Property/Liquidate Assets                                             0.60         126.00
                 Go to storage to pick up and distribute the rest of the rings so that    210.00/hr
                 they can be prepped for melting.

  6/22/2018 AJ   Sell Property/Liquidate Assets                                             5.00        1,050.00
                 Prepare rings for melting.                                               210.00/hr

           KW    Sell Property/Liquidate Assets                                             6.00         390.00
                 Removing rings from plastic to be melted and sold.                        65.00/hr

           TM    Sell Property/Liquidate Assets                                             0.30             52.50
                 Emails to and from Hamlin and Title re Lot 14 plot lines of              175.00/hr
                 easements, etc. Saved documents in pubdocs.

  6/23/2018 AJ   Sell Property/Liquidate Assets                                             2.50         525.00
                 Prepare rings for melting.                                               210.00/hr

           KW    Sell Property/Liquidate Assets                                             9.40         611.00
                 Removing rings from plastic to be melted and sold.                        65.00/hr




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                                                                                              Hrs/Rate           Amount

  6/24/2018 AJ   Sell Property/Liquidate Assets                                                  1.00            210.00
                 Prepare rings for melting.                                                    210.00/hr

           KW    Sell Property/Liquidate Assets                                                  8.00            520.00
                 Removing rings from plastic to be melted and sold.                             65.00/hr

  6/25/2018 KW   Sell Property/Liquidate Assets                                                  0.20              13.00
                 Moving rings to office.                                                        65.00/hr

  6/27/2018 TM   Sell Property/Liquidate Assets                                                  0.50              87.50
                 Emails from broker re amendment for Tom to sign, but incorrect                175.00/hr
                 form sent to me. Reviewed and email to broker requesting different
                 form. Received new form, gathered signature from Tom, scanned
                 and sent to broker.

           TM    Sell Property/Liquidate Assets                                                  0.80            140.00
                 Emails from broker of Live Oak with revised bid for cleaning. Email           175.00/hr
                 to broker re same. Signed and sent to broker. Checked status of
                 starter payment. Asked broker to confirm start time re scheduling
                 alarm to be off. Emails back and forth re time to start and alarm.
                 Text to Landfried re same.

           TM    Sell Property/Liquidate Assets                                                  0.70            122.50
                 Email from broker re question from escrow. Email to escrow agent              175.00/hr
                 explaining the receivership and previous sales in this portfolio. Sent
                 info on other escrow numbers and specific instructions from
                 Chicago Title.

  6/28/2018 BC   Sell Property/Liquidate Assets                                                  1.00              60.00
                 Cut rings out of packaging to get ready for refining silver.                   60.00/hr

           TM    Sell Property/Liquidate Assets                                                  0.10              17.50
                 Received email of affidavit of notice re Deodar. Saved to pubdocs             175.00/hr
                 and filed with Deodar.

           AJ    Sell Property/Liquidate Assets                                                  2.60            546.00
                 Prepare rings for smelting.                                                   210.00/hr

  6/30/2018 BC   Sell Property/Liquidate Assets                                                  6.00            360.00
                 Cut rings out of packaging to get ready for refining silver.                   60.00/hr


           SUBTOTAL:                                                                      [    138.40         15,294.00]

           For professional services rendered                                                  417.70        $55,816.50


           Balance due                                                                                       $55,816.50




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                   EXHIBIT B
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Thomas Seaman Company                     FeeApp11                      Summary By Timekeeper
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                        Thomas Seaman, Receiver for USFIA, Inc. et al
                             Eleventh Interim Fee Application
                                      Summary of Fees
                                 Summary By Timekeeper
                            April 1, 2018, through June 30, 2018

 Thomas Seaman, Receiver                         Hours           Rate          Cost
 Apr-18                                               26.3        $385.00     $10,125.50
 May-18                                                9.2        $385.00      $3,542.00
 Jun-18                                               18.2        $385.00      $7,007.00
 Total                                                53.7        $385.00     $20,674.50

 Alison Juroe, Project Manager                   Hours           Rate          Cost
 Apr-18                                             105.0         $210.00     $22,050.00
 May-18                                               54.1        $210.00     $11,361.00
 Jun-18                                             126.5         $210.00     $26,565.00
 Total                                              285.6         $210.00     $59,976.00

 Timothy McDonnell, Project Manager              Hours           Rate          Cost
 Apr-18                                               46.4        $175.00      $8,120.00
 May-18                                               31.1        $175.00      $5,442.50
 Jun-18                                               42.7        $175.00      $7,472.50
 Total                                              120.2         $175.00     $21,035.00

 Darren Clevenger, Project Manager               Hours           Rate           Cost
 Apr-18                                                  7.9      $170.00       $1,343.00
 May-18                                                  0.3      $170.00          $51.00
 Jun-18                                                  0.3      $170.00          $51.00
 Total                                                   8.5      $170.00       $1,445.00

 Various Adminstrative Assistants                Hours           Rate          Cost
 Apr-18                                             322.9          $70.00     $22,490.00
 May-18                                             102.6          $67.00      $6,848.50
 Jun-18                                             229.4          $64.00     $14,721.00
 Total                                              654.9          $67.00     $44,059.50




                                                                               Exhibit B, Page 79
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Thomas Seaman Company               FeeApp11                    Summary By Timekeeper
                                                                           Page 2 of 2


 Total                                     Hours        Rate           Cost
 Apr-18                                        508.5     $126.00      $64,128.50
 May-18                                        197.3     $138.00      $27,245.00
 Jun-18                                        417.1     $134.00      $55,816.50
 Total, Receiver and Agent hours             1,122.9     $131.00     $147,190.00




                                                                       Exhibit B, Page 80
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Thomas Seaman Company                              FeeApp11                                     Summary By Task
                                                                                                    Page 1 of 3

                             Thomas Seaman, Receiver for USFIA, Inc. et al
                                  Eleventh Interim Fee Application
                                         Summary By Task
                                     April 1, 2018, through June 30, 2018
                     Task                               Hours            Rate               Amount
Accounting and Reporting                                     13.1          $107                 $1,407.00
Forensic Accounting                                         119.8          $114                $13,646.00
Investor Relations                                          563.5          $116                $65,212.50
Litigation & Support                                          5.2          $210                 $1,092.00
Project Management                                           44.9          $193                 $8,672.50
Property Management                                          50.3          $175                 $8,802.50
Receiver                                                     46.2          $385                $17,787.00
Receivership Administration                                  96.2           $67                 $6,477.50
Sell Liquidate Assets                                       178.8          $130                $23,211.00
Takeover Property                                             4.9          $180                   $882.00
Total All Activities                                      1,122.9          $131               $147,190.00


       Takeover Property;                    Task Summary
          $882.00 ; 1%                                  Accounting and 
                                                      Reporting; $1,407.00 
                                                              ; 1%
                                                                              Forensic Accounting; 
           Sell Liquidate Assets; 
                                                                                $13,646.00 ; 9%
             $23,211.00 ; 16%

          Receivership 
         Administration;                                  Investor 
         $6,477.50 ; 4%                                  Relations; 
                      Receiver;                         $65,212.50 ; 
                     $17,787.00 ;                           44%
                        12%
                          Property 
                       Management; 
                       $8,802.50 ; 6%
                            Project                  Litigation & Support; 
                        Management;                      $1,092.00 ; 1%
                        $8,672.50 ; 6%




                                                                                                  Exhibit C, Page 82
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Thomas Seaman Company               FeeApp11                             Summary By Task
                                                                             Page 2 of 3

                                                                  Accounting and
Accounting and Reporting                Hours         Rate          Reporting
Apr-18                                          5.2      $92                 $480.00
May-18                                          7.4     $118                 $870.00
Jun-18                                          0.5     $114                  $57.00
Total Accounting and Reporting                 13.1     $107               $1,407.00

Forensic Accounting                     Hours         Rate      Forensic Accounting
Apr-18                                     103.4        $112              $11,615.00
May-18                                        9.0       $160               $1,439.00
Jun-18                                        7.4        $80                 $592.00
Total Forensic Accounting                  119.8        $114              $13,646.00

Investor Relations                      Hours         Rate       Investor Relations
Apr-18                                     240.8        $103               $24,907.00
May-18                                     113.1        $121               $13,697.00
Jun-18                                     209.6        $127               $26,608.50
Total Investor Relations                   563.5        $116               $65,212.50

Litigation & Support                    Hours         Rate      Litigation & Support
Apr-18                                          1.3     $210                  $273.00
May-18                                          -          $0                   $0.00
Jun-18                                          3.9     $210                  $819.00
Total Litigation & Support                      5.2     $210                $1,092.00

Project Management                      Hours         Rate      Project Management
Apr-18                                      37.9        $193               $7,296.50
May-18                                        4.1       $206                 $845.50
Jun-18                                        2.9       $183                 $530.50
Total Project Management                    44.9        $193               $8,672.50


Property Management                     Hours         Rate   Property Management
Apr-18                                          8.6     $175            $1,505.00
May-18                                         18.3     $175            $3,202.50
Jun-18                                         23.4     $175            $4,095.00
Total Property Management                      50.3     $175            $8,802.50




                                                                          Exhibit C, Page 83
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Thomas Seaman Company               FeeApp11                             Summary By Task
                                                                             Page 3 of 3

Receiver                                Hours         Rate           Receiver
Apr-18                                      18.8        $385               $7,238.00
May-18                                        9.2       $385               $3,542.00
Jun-18                                      18.2        $385               $7,007.00
Total Receiver                              46.2        $385              $17,787.00

                                                                   Receivership
Receivership Administration             Hours         Rate        Administration
Apr-18                                      56.9         $66               $3,768.50
May-18                                      26.5         $72               $1,895.50
Jun-18                                      12.8         $64                 $813.50
Total Receivership Administration           96.2         $67               $6,477.50

Sell/Liquidate Assets                   Hours         Rate      Sell/Liquidate Assets
Apr-18                                      30.7        $201                $6,163.50
May-18                                        9.7       $181                $1,753.50
Jun-18                                     138.4        $111               $15,294.00
Total Sell Liquidate Assets                178.8        $130               $23,211.00

Takeover Property                       Hours         Rate      Takeover Property
Apr-18                                          4.9     $180                $882.00
May-18                                          -          $0                 $0.00
Jun-18                                          -          $0                 $0.00
Total Takeover Property                         4.9     $180                $882.00

Total All Activities                    Hours         Rate      Total All Activities
Apr-18                                      508.5       $126              $64,128.50
May-18                                      197.3       $138              $27,245.00
Jun-18                                      417.1       $134               $55,816.50
Total All Activities                      1,122.9       $131             $147,190.00




                                                                          Exhibit C, Page 84
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                   EXHIBIT D
                                                                   Exhibit D, Page 85
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                                 #:9147
                        STANDARDIZED FUND ACCOUNTING REPORT for Steve Chen, USFIA ‐ Cash Basis
          Receivership; Case No. 15‐07425‐RGK‐GKSX
          Reporting Period 04/01/2018 to 06/30/2018

          FUND ACCOUNTING (See instructions):
                                                                                          Detail             Subtotal        Grand Total
          Line 1          Beginning Balance (03/31/2018):                                  48,484,986                              48,484,986

                          Increases in Fund Balance:

          Line 2          Business Income                                                                                                        ‐
          Line 3          Cash and Securities                                                1,297,030                                1,297,030
          Line 4          Interest/Dividend Income                                                                                               ‐
          Line 5          Business Asset Liquidation                                                                                             ‐
          Line 6          Personal Asset Liquidation                                             287,828                                 287,828
          Line 7          Third‐Party Litigation Income                                                                                          ‐
          Line 8          Miscellaneous ‐ Other                                                                                                  ‐
                          Total Funds Available (Lines 1 ‐ 8):                             50,069,844                              50,069,844

                          Decreases in Fund Balance:

          Line 9          Disbursements to Investors                                                     ‐                                       ‐

          Line 10         Disbursements to Receivership Operations
              Line 10a    Disbursement to Receiver or Other Professionals                                                                        ‐
              Line 10b    Business Asset Expenses                                              (146,089)                               (146,089)
               Line 10c   Personal Asset Expenses                                                                                                ‐
              Line 10d    Investment Expenses                                                            ‐                                       ‐
              Line 10e    Third‐Party Litigation Expenses                                                                                        ‐
                             1. Attorney Fees                                                                                                    ‐
                             2. Litigation Expenses                                                      ‐                                       ‐
                             Total Third‐Party Litigation Expenses                                       ‐                                       ‐

              Line 10f Tax Administrator Fees and Bonds                                        ‐                                                 ‐
              Line 10g Federal and State Tax Payments                                                                    
                       Total Disbursements for Receivership Operations                                                                 (146,089)

          Line 11      Disbursements for Distribution Expenses Paid by the Fund:
              Line 11a Distribution Plan Development Expenses:
                       1. Fees:
                          Fund Administrator…………………………………….                                     ‐                                                ‐
                          Independent Distribution Consultant (IDC)..                           ‐                                                ‐
                          Distribution Agent………………………………………                                     ‐                                                ‐
                          Consultants………………………………………………..                                       ‐                                                ‐
                          Legal Advisors…………………………………………….                                      ‐                                                ‐
                          Tax Advisors……………………………………………….                                       ‐                                                ‐
                       2. Administrative Expenses                                               ‐                                                ‐
                       3. Miscellaneous                                                         ‐                                                ‐
                       Total Plan Developmental Expenses                                                                                         ‐

              Line 11b Distribution Plan Implementation Expenses:
                       1. Fees:
                          Fund Administrator…………………………………….                                     ‐                                                ‐
                          IDC………………………………………………………………                                           ‐                                                ‐
                          Distribution Agent………………………………………                                     ‐                                                ‐
                          Consultants………………………………………………..                                       ‐                                                ‐
                          Legal Advisors…………………………………………….                                      ‐                                                ‐
                          Tax Advisors……………………………………………….                                       ‐                                                ‐
                       2. Administrative Expenses                                               ‐                                                ‐
                       3. Investor Identification:
                          Notice/Publishing Approved Plan……………                                                                                   ‐
                          Claimant Identification…………………………..                                   ‐                                                ‐
                          Claims Processing……………………………………                                       ‐                                                ‐
                          Web Site Maintenance/Call Center………….                                 ‐                                                ‐
                       4. Fund Administrator Bond                                               ‐                                                ‐
                       5. Miscellaneous                                                         ‐                                                ‐
                       6. Federal Account for Investor Restitution
                       (FAIR) Reports Expenses                                                  ‐                                                ‐
                       Total Plan Implementation Expenses                                       ‐                                                ‐
                       Total Disbursements for Distribution Expenses Paid by the Fund                                                            ‐

          Line 12      Disbursements to Court/Other:
              Line 12a Investment Expenses/Court Registry Investment
                       System (CRIS) Fees                                                                ‐                                       ‐
              Line 12b Federal Tax Payments                                                              ‐                                       ‐
                       Total Disbursement to Court/Other:                                                                                        ‐
                       Total Funds Disbursed (Lines 9 ‐ 11):                                                                           (146,089)

          Line 13         Ending Balance (As of 06/30/2018):                                                                       49,923,755

                                                                                                                                                     Exhibit D, Page 86
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